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       EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



                                                     Civil Action File No.: 1:21-cv-00135
In re: Clearview AI, Inc., Consumer
Privacy Litigation                                   Judge Sharon Johnson Coleman

This document relates to:                            Magistrate Judge Maria Valdez

All actions                                          JURY TRIAL DEMANDED



MACY’S DEFENDANTS’ ANSWER AND AMENDED AFFIRMATIVE DEFENSES TO
  THE SECOND AMENDED CONSOLIDATED CLASS ACTION COMPLAINT

        Macy’s, Inc., Macy’s Retail Holdings, Inc., now known as Macy’s Retail Holdings, LLC,

and Macy’s Corporate Services, Inc., now known as Macy’s Corporate Services, LLC

(collectively referred to as the “Macy’s Entities”), through their counsel, respectfully answer the

Second Amended Consolidated Class Action Complaint of Plaintiffs David Mutnick, Steven

Vance, Mario Calderon, Anthony Hall, Isela Carmean, Shelby Zelonis Roberson, Andrea Vestrand

and Aaron Hurvitz (collectively, “Plaintiffs”), and state the following:

                                    NATURE OF THE ACTION

        1.      Without providing any notice and without obtaining any consent, Defendants
Clearview, Ton-That and Schwartz (collectively, the “Clearview Defendants”) covertly scraped
three billion photographs of facial images from the internet – including facial images of millions of
American residents and then used artificial intelligence algorithms to scan the face geometry of
each individual depicted in the photographs in order to harvest the individuals’ unique biometric
identifiers1 and corresponding biometric information2 (collectively, “Biometrics”). Further, the
Clearview Defendants created a searchable biometric database (the “Biometric Database”) that
contained the above-described Biometrics and allowed users of the Biometric Database to identify
unknown individuals merely by uploading a photograph to the database.

1
  As used herein, “biometric identifier” is any personal feature that is unique to an individual, including
fingerprints, iris scans, DNA and “face geometry,” among others.
2
  As used herein, “biometric information” is any information captured, converted, stored, or shared based
on a person’s biometric identifier used to identify an individual.




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ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        2.      The Clearview Defendants did not develop their technology out of a desire for a
safer society. Rather, they developed their technology to invade the privacy of the American
public for their own profit.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        3.       While the Clearview Defendants have touted their actions and the Biometric
Database as being helpful to law enforcement and other government agencies, the Clearview
Defendants have made their Biometric Database available to public and private entities and
persons, alike. What the Clearview Defendants’ technology really offers is a massive surveillance
state. Anyone utilizing the technology could determine the identities of people as they walk down
the street, attend a political rally or enjoy time in public with their families. One of Clearview’s
financial backers has conceded that Clearview may be laying the groundwork for a “dystopian
future.”

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        4.      Accordingly, Plaintiffs, on behalf of themselves and similarly situated individuals,
bring this action for damages and other legal and equitable remedies resulting from the actions of
the Clearview Defendants, the Macy’s Entities (the Clearview Defendants and Macy’s Entities,
collectively, “Defendants”) and the Defendant Class Members for their unlawful creation and/or
use of the Biometric Database consisting of the Biometrics of millions of American residents,
including residents of Illinois, California, New York and Virginia. As alleged below, Defendants’
conduct violated, and continues to violate, Illinois’ Biometric Information Privacy Act (“BIPA”),
740 ILCS 14/1, et seq., as well as other state constitutional, statutory and common laws, causing
injury to Plaintiffs and Plaintiff Class Members


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ANSWER:        The Macy’s Entities admit that Plaintiffs purport to bring this action on behalf of

themselves and similarly situated individuals for damages and other legal and equitable remedies

against the Clearview Defendants, the Macy’s Entities, all other private entities that are allegedly

similarly situated to the Macy’s Entities and other Defendants. The Macy’s Entities deny that they

are similarly situated to other private entities with respect to the allegations in this paragraph and

deny the remaining allegations asserted against them in this paragraph. The Macy’s Entities lack

knowledge or information sufficient to form a belief as to the truth of the allegations asserted in

this paragraph against any Defendant other than the Macy’s Entities and therefore deny them.

                                             PARTIES

        5.      Plaintiff David Mutnick is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        6.      Plaintiff Steven Vance is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        7.      Plaintiff Mario Calderon is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        8.      Plaintiff Anthony Hall is, and at relevant times has been, a resident of Illinois,
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.



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        9.      Plaintiff Isela Carmean is, and at relevant times has been, a resident of Illinois
residing in the Northern District of Illinois.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

       10.     Plaintiff Shelby Zelonis Roberson is, and at relevant times has been, a resident of
Virginia.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

       11.     Plaintiff Andrea Vestrand is, and at relevant times has been, a resident of
California.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        12.    Plaintiff Aaron Hurvitz is, and at relevant times has been, a resident of New York.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

         13.    Defendant Clearview AI, Inc., formerly known as Smartcheckr Corp., Inc., is a
private, for-profit Delaware corporation, headquartered in New York, New York. Clearview
markets its technology throughout the United States, including in Illinois. Moreover, Clearview
obtains the images that underlie its technology from millions of internet-based platforms and
websites, including, on information and belief, based on the magnitude of platforms and websites
involved, platforms and websites of Illinois companies or companies who operate servers in
Illinois. Clearview’s business and unlawful practices extend nationwide, and it has disclosed the
Biometrics of unsuspecting individuals to its clients around the country. Clearview continues to
engage in this conduct to this day.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

       14.    Defendant Hoan Ton-That is a founder and the Chief Executive Officer of
Clearview and an architect of its illegal scheme, as alleged herein. Ton-That’s responsibilities at

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Clearview included, and continue to include, managing technology matters. At relevant times,
Ton-That knew of, participated in, consented to, approved, authorized and directed the wrongful
acts alleged in this Second Amended Consolidated Class Action Complaint.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        15.      Defendant Richard Schwartz is a founder and the President of Clearview and an
architect of its illegal scheme. Schwartz’s responsibilities at Clearview included, and continue to
include, managing sales. Schwartz knew of, participated in, consented to, approved, authorized,
and directed the wrongful acts alleged in this Second Amended Consolidated Class Action
Complaint.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

       16.     At relevant times, Defendant Thomas Mulcaire was an attorney licensed in
California, Clearview’s General Counsel and the Vice President of Defendant Rocky Mountain.
Mulcaire provided the Illinois Secretary of State, a Rocky Mountain customer, with his personal
information in order to be paid directly for work performed by Rocky Mountain.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        17.    Defendant Rocky Mountain Data Analytics LLC is a private, for-profit New
Mexico limited liability company with its principal place of business in New Mexico. As alleged
in more detail below, a unity of interest existed between Rocky Mountain, on the one hand, and
Ton-That, Schwartz and Mulcaire on the other that caused the separate personalities of Rocky
Mountain and Ton-That, Schwartz and Mulcaire to no longer exist. Further, as alleged in more
detail below, Clearview is legally responsible for the actions and conduct of Rocky Mountain. At
relevant times, Rocky Mountain solicited business from potential Illinois customers and


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contracted with the Illinois Secretary of State. Rocky Mountain provided the Illinois Secretary of
State with access to the Biometric Database and the Biometrics contained therein.

ANSWER:           The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        18.      At relevant times, Defendant Macy’s, Inc. was a Delaware corporation, that held
itself out to as “one of the nation’s premier retailers” with approximately 680 department stores
and over 100,000 employees. Among the department stores, were stores located in Illinois.

ANSWER:           The Macy’s Entities admit that Macy’s Inc. is a Delaware Corporation. The

Macy’s Entities deny the remaining allegations of this paragraph.

        19.   At relevant times, Defendant Macy’s Retail Holdings, Inc., now known as Macy’s
Retail Holdings, LLC, was a New York corporation and wholly-owned subsidiary of Macy’s, Inc.
doing business in Illinois.

ANSWER:           The Macy’s Entities admit the allegations contained within this paragraph.

      20.     At relevant times, Defendant Macy’s Corporate Services, Inc., now known as
Macy’s Corporate Services, LLC, was a New York Corporation and wholly-owned subsidiary of
Macy’s Retail Holdings, Inc. doing business in Illinois.

ANSWER:           The Macy’s Entities admit the allegations contained within this paragraph.

                                  JURISDICTION AND VENUE

        21.    This Court has original jurisdiction over this controversy pursuant to 28 U.S.C. §
1332(d) because there are more than 100 Plaintiff Class Members and the aggregate amount in
controversy exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least one class
member is a citizen of a state different from one of the Defendants. The Court has supplemental
jurisdiction over all of the state law claims pursuant to 28 U.S.C. § 1367.

ANSWER:           The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations contained in

this paragraph.




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        22.    This Court has personal jurisdiction over the Clearview Defendants because their
contacts with Illinois are directly related to the conduct alleged herein. As set forth in the Court’s
order in Mutnick v. Clearview AI, Inc., No. 1:20-cv-512 (N.D. Ill) (Dkt. 86):

        Ton-That and Schwartz founded Clearview in 2017. Ton-That and Schwartz have
        high-ranking positions in management and operations at Clearview. More
        specifically, Ton-That is Clearview’s CEO and is responsible for managing
        Clearview’s technological matters. Schwartz is Clearview’s president managing
        Clearview’s sales. Schwartz and Ton-That have contributed significant resources to
        Clearview’s operations. Schwartz, for example, has paid for the servers and other
        costs necessary to carry out Clearview’s scraping and scanning operations.

        As Clearview’s principals, Schwartz and Ton-That have executed hundreds of
        agreements on behalf of Clearview with numerous Illinois law enforcement and
        other government agencies, as well as private entities in Illinois, to provide access
        to its facial recognition database. Through these agreements, defendants have sold,
        disclosed, obtained, and profited from the biometric identifiers of Illinois citizens.
        Some the entities to whom Clearview sold biometric information include the
        Chicago, Rockford, and Naperville police departments. Also, Clearview marketed
        its licenses (user accounts) for its facial recognition database to the Illinois
        Secretary of State and negotiated a contract with the Secretary of State via a series
        of emails, mail, and phone calls. As to Clearview’s price quote to the Secretary of
        State, set forth in a letter dated October 1, 2019, Clearview directed payments to be
        sent to Clearview AI/Attn: Richard Schwartz at Schwartz’s residence in New York
        City.

        Plaintiffs further maintain that defendants purposely directed their “illegal
        harvesting” at the State of Illinois. To clarify, the images contained in the facial
        recognition databases sold to Illinois entities were uploaded and created using
        internet-based platforms and websites from companies in Illinois or companies
        who operate servers in Illinois. Simply put, defendants took biometric information
        from Illinois residents, created a surveillance database, and then marketed and sold
        licenses to use this database to entities in Illinois. As a result, plaintiffs’ privacy
        rights were violated.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

       23.     This Court has personal jurisdiction over Rocky Mountain and Mulcaire because
their contacts with Illinois are directly related to the conduct alleged herein. According to
Mulcaire’s May 23, 2020 sworn declaration: (a) Rocky Mountain “is a special purpose entity that was
used for the purpose of contracting with the Illinois Secretary of State”; (b) “[a]lthough [Rocky
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Mountain] did submit a quote to the Chicago Police Department, other than the transaction with the
Illinois Secretary of State, [Rocky Mountain] has not engaged in any other transactions related to
Clearview’s [biometric] database since its formation, and is not currently engaged in efforts to market
or contract with parties for access to Clearview’s database”; and (c) Rocky Mountain “has no
employees, assets or products separate from those of Clearview . . . .” The Biometric Database that
Rocky Mountain offered and provided to the Illinois Secretary of State was the same Biometric
Database created by Clearview, with the same connection to Illinois as alleged in the preceding
paragraph. At relevant times, Mulcaire was Rocky Mountain’s Vice President and directly
corresponded with the Illinois Secretary of State in connection with Rocky Mountain’s efforts to
obtain the Illinois Secretary of State’s business. According to the Illinois Secretary of State’s records,
the “Vendor/Payee Name” for the entity providing the Biometric Database was “Thomas Mulcaire”
and the “Vendor Name2/DBA” was “Rocky Mtn Data Analytics LLC.” Further, according to
publicly-available information from the Illinois Comptroller’s Office, Thomas Mulcaire was paid
$5,000 in 2020, the amount invoiced by Rocky Mountain.

ANSWER:         The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        24.      The Court has personal jurisdiction over the Macy’s Entities because their contacts
with Illinois are directly related to the conduct alleged herein. On or about October 13, 2019,
Macy’s Corporate Services, Inc., on behalf of itself, Macy’s, Inc. and Macy’s Retail Holdings,
Inc., entered into a contract with Clearview that, among other things, provided Clearview’s
“technology, database and investigative tools to Macy’s, Inc.” On information and belief, Macy’s
obtained access to the Biometric Database and the Biometrics contained therein in order to identify
people whose images appeared in surveillance camera footage from Macy’s retail stores, including
their retail stores in Illinois. Macy’s utilized the Biometric Database over 6,000 times, each time
uploading a probe image to the database to have the database search the Biometrics contained
therein, including the Biometrics of millions of Illinois residents, for a biometric match. On
information and belief, based on the magnitude of the number of searches, Macy’s uploaded one or
more probe images from surveillance cameras located in Illinois.

ANSWER:         Macy’s Retail Holding, LLC and Macy’s Corporate Services, Inc. admit that on or

about October 13, 2019, Macy’s Corporate Services, Inc. entered into a contract with Clearview.

They deny all remaining allegations contained within this paragraph.                Macy’s, Inc. lacks

knowledge of the allegations contained within this paragraph and therefore denies them.

         25.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because, as
alleged above, a substantial part of the acts or omissions giving rise to Plaintiffs’ claims occurred
in Illinois. Alternatively, venue is proper pursuant to 28 U.S.C. § 1391(b)(3) because the Court has

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personal jurisdiction over Defendants. Additionally, venue is proper pursuant to 28 U.S.C. §
1407(a) and the Order of the United States Judicial Panel on Multidistrict Litigation transferring
this multidistrict litigation to this Court.

ANSWER:          The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, Macy’s Retail Holdings, LLC and Macy’s Corporate

Services, Inc. deny that all or part of the acts or omissions giving rise to Plaintiffs’ claims against

the Macy’s Entities occurred in Illinois. Macy’s, Inc. lacks knowledge of this allegation and

therefore denies it. The Macy’s Entities admit the United States Judicial Panel on Multidistrict

Litigation transferred this multidistrict litigation to this Court, but deny that either the transfer

order or 28 U.S.C. § 1407(a) suffices to establish proper venue. The Macy’s Entities deny the

remaining allegations of this paragraph because Illinois does not have general jurisdiction over the

Macy’s Entities, and Plaintiffs’ claims do not arise out of or relate to the Macy’s Entities’ contacts

with Illinois.

                                   FACTUAL ALLEGATIONS

Biometric Identifiers

         26.    Every individual has unique features by which he or she can be identified using a
set of standard quantitative measurements, commonly referred to as “biometric identifiers.”

ANSWER:          The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        27.    For example, the shape of and distance between tiny ridges on each person’s finger
are unique, so measures of those features can be used to identify a specific individual as the person
who made a fingerprint.

ANSWER:          The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

      28.    Each person also has a unique facial geometry composed of, among other
measurements, distances between key facial landmarks and ratios between those distances.



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ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        29.    Once a picture of a person’s face is scanned and its biometric measurements are
captured, computers can store that information and use it to identify that individual any other time
that person’s face appears on the internet, in a scanned picture or in footage from any of the
billions of cameras that are constantly monitoring the public’s daily lives.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

       30.   Unlike fingerprints, facial biometrics are readily observable and, thus, present a
grave and immediate danger to privacy, individual autonomy, and liberty.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

The Clearview Defendants’ Unlawful Biometric Database

       31.      The Clearview Defendants have collected, captured and obtained Biometrics from
more than three billion images they covertly scraped from the internet – including, on information
and belief, the Biometrics of Plaintiffs and Class Members – which they have amassed into the
searchable Biometric Database.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        32.     Additionally, the Clearview Defendants have distributed, disseminated, sold,
traded, leased and otherwise profited from the Biometrics they unlawfully collected, captured and
obtained.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.


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       33.    To date, the Clearview Defendants have sold unfettered access to their vast
Biometric Database to more than 7,000 individuals from approximately 2,000 law enforcement
and government agencies, including the Chicago Police Department and the Illinois Secretary of
State.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        34.     Moreover, the Clearview Defendants have sold unfettered access to the Biometric
Database to more than 200 private companies, including the Macy’s Entities and Defendant Class
Members. Those private entities in turn frequently queried the Biometric Database for their own
business purposes, including to identify particular individuals appearing in photographs or videos
in their possession. Each time one of Clearview’s private clients queried the Biometric Database,
the Clearview Defendants’ algorithms compared the facial geometry of the subject appearing in a
chosen photograph or video against the facial geometry of each of the hundreds of millions of
subjects appearing in the database, including the facial geometry of each of the Plaintiffs and
Plaintiff Class Members. Thus, by obtaining access to and querying the Biometric Database, the
Macy’s Entities and Defendant Class Members necessarily obtained, accessed and used all of the
Biometrics in that database, including the Biometrics of Plaintiffs and Plaintiff Class Members.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        35.    At relevant times, the Clearview Defendants failed to store and protect from
disclosure the highly sensitive Biometrics in the Biometric Database: (a) using the reasonable
standard of care within Clearview’s industry; and (b) in a manner that was the same or more
protective than the manner in which the Clearview Defendants stored and protected other
confidential and sensitive information. Evidence of the Clearview Defendants’ lax security
practices includes the fact that Clearview’s electronic systems were hacked on at least two
occasions in 2020.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,




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the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

       36.     According to public reports, in one instance, the hackers obtained Clearview’s
customer list. In the other instance, hackers obtained access to a “misconfigured server” that
exposed Clearview’s internal files, apps and source code to anyone on the internet. The
misconfigured server allowed anyone to run Clearview’s software application and access the
Biometric Database that contained the sensitive Biometrics of millions of United States residents,
including Plaintiffs and Plaintiff Class Members.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

The Corporate Fictions

       37.     At relevant times, a unity of interest existed between Clearview and its principals,
Ton-That and Schwartz, that caused the separate personalities of Clearview and those principals to
no longer exist. Moreover, adherence to the fiction of a separate corporate existence would
promote injustice and inequitable consequences.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        38.      From Clearview’s inception, Ton-That and Schwartz undercapitalized Clearview
so that Clearview could not fulfill its obligations – namely, its legal obligations. Ton-That’s and
Schwartz’s undercapitalization was especially egregious given that, as alleged herein, they built
Clearview around an inherently unlawful business model that exposed Clearview to substantial
legal liability at all times. Ton-That’s and Schwartz’s failure to adequately capitalize Clearview
rendered, and continues to render, Clearview a mere liability shield.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,




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the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        39.    Further, at relevant times, Clearview directed its customers to send payments to
Schwartz’s personal residence. Moreover, Schwartz paid for the servers and other costs necessary
to carry out Clearview’s unlawful scraping and biometric scanning operations.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        40.     Additionally, Ton-That and Schwartz treated Clearview’s Biometric Database as
their own and transferred “ownership” of it as they saw fit. In or about September 2019, Rocky
Mountain was organized and, shortly thereafter, contracted with the Illinois Secretary of State to
provide the Secretary of State with access to the Biometric Database. Rocky Mountain represented
that the Biometric Database was “its proprietary technology” and that Rocky Mountain was the
“sole manufacturer and provider” of the Biometric Database. According to Rocky Mountain,
“there is no other company that offers this product [the Biometric Database] and set of
capabilities.” On information and belief, based on Ton-That’s and Schwartz’s leadership positions
within Clearview and the fact that they were responsible for the creation of the Biometric
Database, Ton-That and Schwartz authorized and were directly involved in the creation of Rocky
Mountain and responsible for allowing Rocky Mountain to sell access to the Biometric Database.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        41.    Notably, at relevant times, a unity of interest existed between Rocky Mountain, on
the one hand, and Ton-That, Schwartz and Mulcaire on the other that caused the separate
personalities of Rocky Mountain and Ton-That, Schwartz and Mulcaire to no longer exist.
Moreover, adherence to the fiction of a separate corporate existence would promote injustice and
inequitable consequences.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,



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the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

       42.      Rocky Mountain was, in essence, a corporate shell that Ton-That and Schwartz did
not capitalize at all.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        43.    Further, Ton-That, Schwartz and Mulcaire did not follow corporate formalities
with respect to Rocky Mountain. For instance, Rocky Mountain’s salesperson, in actuality, was a
Clearview employee. On information and belief, Ton-That, Schwartz and Mulcaire authorized and
directed that Clearview salesperson to double as a Rocky Mountain salesperson, all the while
knowing that the salesperson would be paid for all of his work by Clearview. Further, on
information and belief, Ton-That and Schwartz authorized Mulcaire to provide his personal
information to the Illinois Secretary of State, knowing that by doing so the Illinois Secretary of
State would make direct payment to him, not Rocky Mountain. Mulcaire, an attorney, ultimately
provided his personal information to the Illinois Secretary of State, resulting in the Illinois
Secretary of State submitting a voucher to the Illinois Comptroller authorizing payment to
Mulcaire. The Illinois Comptroller ultimately issued a $5,000 payment to Mulcaire.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        44.      Based on the same facts alleged in the preceding paragraphs, Clearview, itself, is
also liable for the acts of Rocky Mountain because: (a) it was Rocky Mountain’s parent; and (b)
had control over and was involved in Rocky Mountain’s misconduct. As alleged, Rocky
Mountain’s misconduct can be traced to Clearview, its parent, through the conduct of Ton-That,
Schwartz and Mulcaire who were directly responsible for Rocky Mountain’s activities. Rocky
Mountain’s activities – which included collecting, obtaining, distributing, disseminating, selling,
leasing and profiting from the Biometrics of Plaintiffs and Plaintiff Class Members – resulted in
Rocky Mountain violating the privacy rights of millions of American residents, including residents
of Illinois, California, New York and Virginia. At all times, the injuries caused by Rocky
Mountain's conduct were foreseeable.



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ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

Allegations Related to Plaintiffs

        45.     At relevant times, Plaintiff Mutnick uploaded from Illinois to various websites on
the internet photographs taken in Illinois and containing images of his face. Further, at relevant
times, photographs taken in Illinois and containing images of Plaintiff's face were uploaded by
others to various websites on the internet. In creating the Biometric Database, Clearview searched
millions of websites on the internet for image files. On information and belief, Plaintiff Mutnick's
Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        46.     At relevant times, Plaintiff Vance uploaded from Illinois to various websites on the
internet photographs taken in Illinois and containing images of his face. Plaintiff Vance has
uploaded over 18,000 photographs to the internet, many of which contain images of his face. In
creating the Biometric Database, Clearview searched millions of websites on the internet for
image files. Plaintiff Vance's Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        47.    At relevant times, Plaintiff Calderon uploaded from Illinois to various websites on
the internet photographs taken in Illinois and containing images of his face. In creating the
Biometric Database, Clearview searched millions of websites on the internet for image files.
Plaintiff Calderon's Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        48.    At relevant times, Plaintiff Hall uploaded from Illinois to various websites on the
internet photographs taken in Illinois and containing images of his face. In creating the Biometric
Database, Clearview searched millions of websites on the internet for image files. Plaintiff Hall's
Biometrics are contained in the Biometric Database.




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ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        49.    At relevant times, Plaintiff Carmean uploaded from Illinois to various websites on
the internet photographs taken in Illinois and containing images of her face. In creating the
Biometric Database, Clearview searched millions of websites on the internet for image files.
Plaintiff Carmean’s Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        50.    At relevant times, Plaintiff Roberson uploaded from Virginia to various websites
on the internet photographs taken in Virginia and containing images of her face. In creating the
Biometric Database, Clearview searched millions of websites on the internet for image files.
Plaintiff Roberson’s Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        51.     At relevant times, Plaintiff Hurvitz uploaded from New York to various websites
on the internet photographs taken in New York and containing images of his face. In creating the
Biometric Database, Clearview searched millions of websites on the internet for image files.
Plaintiff Hurvitz’s Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        52.     At relevant times, Plaintiff Vestrand uploaded from California to various websites
on the internet photographs taken in California and containing images of her face. In creating the
Biometric Database, Clearview searched millions of websites on the internet for image files.
Plaintiff Vestrand’s Biometrics are contained in the Biometric Database.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        53.    After scraping photographs from the internet, the Clearview Defendants, singularly
and/or in concert, performed facial geometric scans of the various faces in the scraped
photographs, including Plaintiffs’ faces, in order to collect, capture and obtain the Biometrics from
those faces.




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ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

      54.      Additionally, the Clearview Defendants distributed and disseminated the
Biometrics of Plaintiffs and Plaintiff Class Members to Rocky Mountain who, after obtaining the
Biometrics, then redistributed and disseminated them to the Illinois Secretary of State.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        55.     The Clearview Defendants also distributed and disseminated the Biometrics of
Plaintiffs and Plaintiff Class Members to Macy’s and Defendant Class Members who, as alleged
above, purchased access to the Biometric Database and then repeatedly obtained the Biometrics
contained therein in connection with running biometric searches.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations that are asserted in this paragraph against any Defendant other than the Macy’s Entities

and therefore deny them.

        56.    Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire profited from the
Biometrics in the Biometric Database, including the Biometrics of Plaintiffs and Plaintiff Class
Members, by selling, leasing and trading them to thousands of governmental and private entities,
as alleged herein.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.



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       57.    Macy’s and Defendant Class Members also profited from the Biometrics in the
Biometric Database, including the Biometrics of Plaintiffs and Plaintiff Class Members, by using
those Biometrics to prevent losses and/or improve the customer’s experience.

ANSWER:        The Macy’s Entities deny the allegations against them in this paragraph. The

Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations that are asserted in this paragraph against any Defendant other than the Macy’s Entities

and therefore deny them.

        58.     Defendants: (a) never informed Plaintiffs or Plaintiff Class Members in writing or
otherwise of the purpose for which they were collecting, capturing, obtaining, purchasing,
disclosing, redisclosing and disseminating the Biometrics of Plaintiffs and Plaintiff Class
Members; and (b) never sought, nor received, a written release or other consent from Plaintiffs or
Plaintiff Class Members or the respective authorized representatives of Plaintiffs or Plaintiff Class
Members that allowed Defendants to collect, capture, obtain, purchase, disclose, redisclose and
disseminate the Biometrics of Plaintiffs and Plaintiff Class Members.

ANSWER:        The Macy’s Entities deny that they collected, captured, obtained, purchased,

disclosed, redisclosed or disseminated the Biometrics of Plaintiffs or Plaintiff Class Members and

therefore deny the allegations asserted against them in this paragraph. The Macy’s Entities lack

knowledge or information sufficient to form a belief as to the truth of the allegations that are

asserted in this paragraph against any Defendant other than the Macy’s Entities and therefore deny

them.

       59.     Further, Plaintiffs and Plaintiff Class Members never consented, agreed or gave
permission – written or otherwise – to Defendants for the collection or storage of their unique
Biometrics. Indeed, prior to the Biometric Database being publicized, Plaintiffs and Plaintiff Class
Members had no idea Defendants were ever in possession of their photographs.

ANSWER:        The Macy’s Entities denies that they collected or stored any Plaintiff’s or Plaintiff

Class Member’s unique Biometrics, or publicized the Biometric Database, and therefore deny the

allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge or

information sufficient to form a belief as to the truth of the allegations asserted in this paragraph

against any Defendant other than the Macy’s Entities and therefore denies them.


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       60.     Likewise, Defendants never provided Plaintiffs or Plaintiff Class Members with an
opportunity to prohibit or prevent the collection, storage, use or dissemination of their unique
Biometrics.

ANSWER:        The Macy’s Entities deny that they collected, stored, used or disseminated any

Plaintiff’s or Plaintiff Class Member’s unique Biometrics and therefore deny the allegations

asserted against them in this paragraph. The Macy’s Entities lack knowledge or information

sufficient to form a belief as to the truth of the allegations asserted in this paragraph against any

Defendant other than the Macy’s Entities and therefore deny them.

The Injuries and Damages of Plaintiffs and Plaintiff Class Members

        61.    As alleged herein, as a result of Defendants’ unlawful conduct, Plaintiffs and
Plaintiff Class Members have already sustained injuries and face many more imminent and
certainly impending injuries, which injuries they will continue to suffer.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        62.     Defendants’ unlawful conduct has resulted in, among other things: (a) Plaintiffs’
and Plaintiff Class Members’ unique Biometrics being collected, captured, obtained, purchased,
disclosed, redisclosed and otherwise disseminated without the requisite notice having been given
and without the requisite releases or consents having been obtained; and (b) Plaintiffs and Plaintiff
Class Members being deprived of control over their Biometrics.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        63.    To this day, Plaintiffs and Plaintiff Class Members do not know which, or how
many, individuals or entities have received, obtained, purchased, received through trade, accessed,
stored, disclosed, redisclosed or otherwise made use of Plaintiffs’ and Plaintiff Class Members’



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Biometrics, exposing them to the imminent and certainly impending injuries of identity theft,
fraud, stalking, surveillance, social engineering and other invasions of privacy.3

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.

        64.    As a result of Defendants’ misconduct, Plaintiffs and Plaintiff Class Members have
no recourse for the fact that their biologically unique information has been compromised.
Moreover, Plaintiffs and Class Members are likely to withdraw from biometric-facilitated
transactions and other facially-mediated electronic participation.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

                              CLASS ACTION ALLEGATIONS

       65.     Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23(b)(2)-(3)
and 23(c)(4) on behalf of themselves and the following classes:

               a.      Nationwide Class: All individuals in the United States of America whose
                       Biometrics were or are contained in the Biometric Database.

               b.      Illinois Subclass: All individuals who reside or resided in the State of
                       Illinois whose Biometrics were or are contained in the Biometric Database.

               c.      California Subclass: All individuals who reside or resided in the State of
                       California whose Biometrics were or are contained in the Biometric
                       Database.

               d.      New York Subclass: All individuals who reside or resided in the State of
                       New York whose Biometrics were or are contained in the Biometric
                       Database.

               e.      Virginia Subclass: All individuals who reside or resided in the State of
                       Virginia whose Biometrics were or are contained in the Biometric
                       Database.



3
       Facial    Recognition      Tech:     10      Views      on     Risks      and     Rewards,
https://www.forbes.com/sites/forbestechcouncil/2018/04/03/facial-recognition-tech-10-views-on-risk
s-and-rewards/#54d3e1716b3c (accessed on Mar. 15, 2021)
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The Nationwide Class, Illinois Subclass, California Subclass, New York Subclass and Virginia
Subclass are at times collectively referred to hereinafter as the “Plaintiff Classes.”

ANSWER:         The Macy’s Entities admit Plaintiffs purport to bring this action pursuant to Federal

Rule of Civil Procedure 23(b)(2)-(3) and 23(c)(4) on behalf of themselves and individuals who

meet the definitions of the Plaintiff Classes proposed in Subparagraphs 65(a) – (e), but deny that

any claim asserted against the Macy’s Entities are appropriate for certification of a class pursuant

to either Fed. R. Civ. P. 23(b)(2), (b)(3) or (c)(4).

       66.     Excluded from the Plaintiff Classes are: (a) Defendants; (b) any parent, affiliate or
subsidiary of any Defendant; (c) any entity in which any Defendant has a controlling interest; (d)
any of Defendants’ officers or directors; and (e) any successor or assign of any Defendant. Also
excluded are any judge or court personnel assigned to this case and members of their immediate
families.

ANSWER:         The Macy’s Entities admit Plaintiffs purport to exclude certain individuals from the

proposed definitions of the various Plaintiff Classes, but deny that any claim asserted against the

Macy’s Entities are appropriate for certification of a class pursuant to Fed. R. Civ. P. 23.


        67.     Additionally, on behalf of themselves and the members of the Plaintiff Classes,
Plaintiffs bring this action against a class of entities similarly situated to the Macy’s Entities
pursuant to Federal Rule of Civil Procedure 23(b)(2)-(3) and 23(c)(4), defined as follows:

                Clearview Client Class: All non-governmental, private entities – including
                publicly-traded companies – who purchased access to, or otherwise
                obtained, the Biometric Database and then utilized the database to run
                biometric searches at a time when the Biometrics of one or more of the
                named Plaintiffs had already been captured, collected or obtained, and
                subsequently stored, by the Clearview Defendants.

ANSWER:         The Macy’s Entities admit Plaintiffs purport to bring this action on behalf of

themselves and the members of the Plaintiff Classes against a class of entities that Plaintiffs allege

are similarly situated to the Macy’s Entities pursuant to Federal Rule of Civil Procedure

23(b)(2)-(3) and 23(c)(4), but deny that they are similarly situated to any member of the purported

class of entities, which Plaintiffs label the “Clearview Client Class,” and further deny it is


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appropriate to certify the Clearview Client Class pursuant to either Fed. R. Civ. P. 23(b)(2), (b)(3)

or (c)(4).

        68.     The Plaintiff Classes and the Clearview Client Class are at times collectively
referred to hereinafter as the “Classes”.

ANSWER:         The Macy’s Entities admit that Plaintiffs sometimes refer to the Plaintiff Classes

and the Clearview Client Class collectively as the “Classes,” but deny that any claim asserted

against the Macy’s Entities are appropriate for certification of a class pursuant to either Fed. R.

Civ. P. 23(b)(2), (b)(3) or (c)(4).

        69.     Plaintiffs reserve the right to amend or modify the class definitions with greater
specificity or division after having had an opportunity to conduct discovery.

ANSWER:         The Macy’s Entities deny Plaintiffs can indefinitely reserve their rights to amend or

modify the class definitions and therefore deny the allegations contained in this paragraph.

        70.     Numerosity: Members of each of the Classes are so numerous that their individual
joinder herein is impracticable. Upon information and belief, the members of the Plaintiff Classes
number in the millions, and the number of members of the Clearview Client Class exceeds forty.
The precise number of members of the Classes and their identities are unknown to Plaintiffs at this
time but may be determined through discovery and objective data. Members of the Classes may be
notified of the pendency of this action by mail, electronic mail, internet postings, social media
and/or publication.

ANSWER:         The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against them is appropriate for certification of a class pursuant to Fed. R. Civ. P. 23 and therefore

denies the allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge

or information sufficient to form a belief as to the remaining allegations contained in this

paragraph and therefore deny them.

       71.    Commonality and predominance: Common questions of law and fact exist as to
all members of the Classes and predominate over questions affecting only individual members.
Common legal and factual questions include, but are not limited to:

                a.      Whether Defendants engaged in the wrongful conduct alleged herein;

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             b.   Whether Defendants and members of the Clearview Client Class captured,
                  collected, obtained, accessed, created, stored, used, commercialized,
                  disseminated, disclosed or redisclosed the Biometrics of Plaintiffs and
                  members of the Plaintiff Classes;

             c.   Whether the actions of Defendants and members of the Clearview Client
                  Class violated state statutory, constitutional and common law;

             d.   Whether Defendants and members of the Clearview Client Class properly
                  informed Plaintiffs and members of the Plaintiff Classes that they were
                  collecting, capturing, obtaining, creating, accessing, storing, using,
                  commercializing, disseminating, disclosing and redisclosing their
                  Biometrics;

             e.   Whether Defendants and members of the Clearview Client Class obtained
                  signed written releases or any other form or consent from Plaintiffs or
                  members of the Plaintiff Classes to engage in the practices alleged herein;

             f.   Whether Defendants and members of the Clearview Client Class used the
                  Biometrics of Plaintiffs and members of the Plaintiff Classes to identify
                  them;

             g.   Whether Defendants and members of the Clearview Client Class acted
                  negligently, recklessly or intentionally in, directly or indirectly, scraping
                  individuals’ photographs from the internet and/or using them to identify
                  individuals based upon facial geometry;

             h.   Whether Defendants and members of the Clearview Client Class should be
                  enjoined from continuing their practices;

             i.   Whether Defendants and members of the Clearview Client Class failed to
                  provide notice that they were, directly or indirectly, scraping individuals’
                  photographs from the internet and/or using them to identify individuals
                  based upon facial geometry;

             j.   Whether Defendants and members of the Clearview Client Class failed to
                  provide notice that they were collecting, capturing, obtaining, accessing,
                  using, storing and disseminating individuals’ images, facial geometry and
                  Biometrics;

             k.   Whether Defendants and members of the Clearview Client Class provided
                  any mechanism for members of the Plaintiff Classes to consent to their
                  practices;

             l.   Whether Macy’s and members of the Clearview Client Class purchased or
                  otherwise obtained access to the Biometric Database; and



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               m.      Whether Macy’s and members of the Clearview Client Class collected,
                       purchased, received through trade or otherwise obtained the Biometrics of
                       Plaintiffs and members of the Plaintiff Classes.

ANSWER:        The allegations contained in this paragraph and subparagraphs are legal

conclusions to which no answer is required. To the extent an answer is required, the Macy’s

Entities deny that any claim asserted against them is appropriate for certification of a class

pursuant to Fed. R. Civ. P. 23 and therefore deny the allegations asserted against them in this

paragraph. The Macy’s Entities lack knowledge or information sufficient to form a belief as to the

remaining allegations contained in this paragraph and therefore deny them.

        72.     Typicality: The claims of the named Plaintiffs are typical of the claims of members
of the Plaintiff Classes because Plaintiffs and all members of the proposed Plaintiff Classes have
suffered similar injuries as a result of the same practices alleged herein. Plaintiffs have no interests
to advance adverse to the interests of the other members of the proposed Plaintiff Classes.
Similarly, the defenses of Macy’s are typical of the defenses of members of the Clearview Client
Class because Macy’s and all members of the proposed Clearview Client Class have engaged in
similar conduct and injured Plaintiffs and members of the Plaintiff Classes in similar ways.
Plaintiffs are unaware of any interests of Macy’s that are adverse to the interests of the other
members of the Proposed Clearview Client Class.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against them is appropriate for certification of a class pursuant to Fed. R. Civ. P. 23 and therefore

deny the allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge

or information sufficient to form a belief as to the remaining allegations contained in this

paragraph and therefore deny them.

        73.      Adequacy: Plaintiffs are adequate representatives of the Plaintiff Classes because
their interests do not conflict with the interests of the members they seek to represent, they have
retained competent counsel experienced in prosecuting class actions, and they intend to prosecute
this action vigorously. The interests of the members of the Plaintiff Classes will be fairly and
adequately protected by Plaintiffs and their counsel. Similarly, the Macy’s Entities are adequate
representatives of the Clearview Client Class because their interests do not conflict with the
interests of the members of the Clearview Client Class. Further, Plaintiffs anticipate that the
Macy’s Entities will retain competent and experienced counsel who will defend this action


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vigorously. The interests of the members of the Clearview Client Class will be fairy and
adequately protected by the Macy’s Entities and their counsel.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against the Macy’s Entities is appropriate for certification of a class pursuant to Fed. R. Civ. P. 23

and therefore deny the allegations asserted against them in this paragraph. The Macy’s Entities

lack knowledge or information sufficient to form a belief as to the remaining allegations contained

in this paragraph and therefore deny them.

        74.     Superiority: The class mechanism is superior to other available means for the fair
and efficient adjudication of the claims and defenses of the members of the Plaintiff Classes and
the Clearview Client Class. Each individual member of the Plaintiff Classes may lack the
resources to undergo the burden and expense of individual prosecution of the complex and
extensive litigation necessary to establish Defendants’ and the Clearview Client Class’s liability.
Further, individualized litigation increases the delay and expense to all parties and multiplies the
burden on the judicial system presented by the complex legal and factual issues of this case.
Individualized litigation also presents a potential for inconsistent or contradictory judgments. In
contrast, the class action device presents far fewer management difficulties and provides the
benefits of a single adjudication, economy of scale and comprehensive supervision by a single
court on the issue of the liability of Defendants and members of the Clearview Client Class. Class
treatment of the liability issues will ensure that all claims and claimants are before this Court for
consistent adjudication of the liability issues.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against them is appropriate for certification of a class pursuant to Fed. R. Civ. P. 23 and therefore

deny the allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge

or information sufficient to form a belief as to the remaining allegations contained in this

paragraph and therefore deny them.

        75.    In the alternative, the proposed classes may be certified because:

               a.      The prosecution and defense of separate actions by each individual member
                       of the proposed Classes would create a risk of inconsistent adjudications,
                       which could establish incompatible standards of conduct for Defendants;


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               b.      The prosecution and defense of individual actions could result in
                       adjudications that as a practical matter would be dispositive of the interests
                       of non-party Class Members or which would substantially impair their
                       ability to protect their interests; and

               c.      Defendants acted or refused to act on grounds generally applicable to the
                       proposed Classes, thereby making final and injunctive relief appropriate
                       with respect to members of the proposed Classes.

ANSWER:        The allegations of this paragraph and subparagraphs contain legal conclusions to

which no answer is required. To the extent an answer is required, the Macy’s Entities deny that any

claim asserted against them is appropriate for certification of a class pursuant to Fed. R. Civ. P. 23

and therefore deny the allegations asserted against them in this paragraph. The Macy’s Entities

lack knowledge or information sufficient to form a belief as to the remaining allegations contained

in this paragraph relating to any other Defendant and therefore deny them.

      76.      Pursuant to Rule 23(c)(4), particular issues are appropriate for certification –
namely the issues described in paragraph 71 above, because resolution of such issues would
advance the disposition of the matter and the parties’ interests therein.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that any claim asserted

against them is appropriate for certification of a class pursuant to Fed. R. Civ. P. 23 and therefore

deny the allegations asserted against them in this paragraph. The Macy’s Entities lack knowledge

or information sufficient to form a belief as to the remaining allegations contained in this

paragraph and therefore deny them.

                                      COUNT ONE
                       VIOLATION OF BIPA – 740 ILCS 14/15(b)
(By Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean, on Behalf of Themselves and
Members of the Illinois Subclass, Against Defendants Clearview, Ton-That, Schwartz and
              the Macy’s Entities and Members of the Clearview Client Class)

        77.      Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean restate and reallege
paragraphs 1 through 76 of this Second Amended Consolidated Class Action Complaint as though
fully set forth herein.


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ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 76 as if fully set forth herein.

       78.     BIPA seeks to safeguard individuals’ biometrics identifiers and biometric
information.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities admit that 740 ICS 14/5 states:

“The public welfare, security, and safety will be served by regulating the collection, use,

safeguarding, handling, storage, retention, and destruction of biometric identifiers and

information.” The Macy’s Entities deny the remaining allegations contained in this paragraph.

      79.     Pursuant to BIPA, biometric identifiers include a scan of an individual’s face
geometry. 740 ILCS 14/10.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities admit that 740 ILCS 14/10

states: “‘Biometric identifier’ means a… scan of hand or face geometry. Biometric identifiers do

not include writing samples, written signatures, photographs, human biological samples used for

valid scientific testing or screening, demographic data, tattoo descriptions, or physical descriptions

such as height, weight, hair color, or eye color.” The Macy’s Entities deny the remaining

allegations contained in this paragraph.

       80.     Pursuant to BIPA, biometric information is “any information . . . based on an
individual’s biometric identifier used to identify an individual.” 740 ILCS 14/10.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities admit that 740 ILCS 14/10 states

“‘Biometric information’ means any information, regardless of how it is captured, converted,

stored, or shared, based on an individual's biometric identifier used to identify an individual.

Biometric information does not include information derived from items or procedures excluded


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under the definition of biometric identifiers.” The Macy’s Entities deny the remaining allegations

contained in this paragraph.

        81.     Pursuant to BIPA, a private entity, such as each Defendant, see 740 ILCS 14/10, is
among other things, prohibited from collecting, capturing, purchasing, receiving through trade or
otherwise obtaining an individual’s biometric identifiers and information without first: (a)
informing the individual or the individual’s authorized representative in writing that the biometric
identifier and information are being collected or stored; (b) informing the individual or the
individual’s authorized representative of the specific purpose and length of term for which the
biometric identifier and information are being collected, stored and used; and (c) obtaining a
written release. 740 ILCS 14/15(b).

ANSWER:        The Macy’s Entities admit that each of them is a private entity. The Macy’s Entities

lack knowledge or information sufficient to form a belief as to the allegations asserted in this

paragraph against any Defendant other than the Macy’s Entities and therefore denies them. The

remaining allegations in the paragraph are legal conclusions to which no answer is required. To the

extent an answer is required, the Macy’s Entities deny that the remaining allegations of this

paragraph accurately state or summarize the provisions of 740 ILCS 14/15(b)(1) through (3) and

therefore deny them.

        82.     Pursuant to BIPA, a private entity, such as each Defendant, see 740 ILCS 14/10: (a)
is prohibited from selling, leasing, trading or otherwise profiting from an individual’s biometric
identifiers and information; (b) is prohibited from disclosing, redisclosing or otherwise
disseminating an individual’s biometric identifiers or information without first obtaining consent;
and (c) must store, transmit and protect from disclosure all biometric identifiers and biometric
information in its possession using the reasonable standard of care within the private entity’s
industry and in a manner which is the same as or more protective than the manner in which the
private entity stores, transmits and protects other confidential and sensitive information. 740 ILCS
14/15(c)-(e).

ANSWER:        The Macy’s Entities admit that they are private entities. The Macy’s Entities lack

knowledge or information sufficient to form a belief as to the allegations asserted in this paragraph

against any Defendant other than the Macy’s Entities and therefore deny them. The remaining

allegations in the paragraph are legal conclusions to which no answer is required. To the extent an

answer is required, the Macy’s Entities deny that the remaining allegations of this paragraph


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accurately state or summarize the provisions of 740 ILCS 14/15(c) through (e) and therefore deny

them.

        83.    BIPA provides for a private right of action and allows a prevailing party to recover
liquidated damages in the amount of: (a) $1,000 or actual damages, whichever is greater, for
negligent violations of its provisions; and (b) $5,000 or actual damages, whichever is greater, for
intentional or reckless violations of its provisions. 740 ILCS 14/20. BIPA also allows for the
recovery of attorneys’ fees and costs and injunctive relief. 740 ILCS 14/20.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that the allegations of this

paragraph accurately state or summarize the provisions of 740 ILCS 14/20 and therefore deny

them.

        84.     As alleged above, Defendants Clearview, Ton-That, Schwartz and the Macy’s
Entities and members of the Clearview Client Class violated BIPA by collecting, capturing,
purchasing, receiving through trade and/or otherwise obtaining individuals’ biometric identifiers
and information, including the biometric identifiers and information of Plaintiffs Mutnick, Vance,
Calderon, Hall and Carmean and members of the Illinois Subclass, without first providing the
requisite written information and without obtaining the requisite written releases.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        85.     The BIPA violations of Defendants Clearview, Ton-That, Schwartz and the Macy’s
Entities and members of the Clearview Client Class were intentional and reckless or, pleaded in
the alternative, negligent.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to




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form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

       86.     As a direct and proximate result of the BIPA violations of Defendants Clearview,
Ton-That, Schwartz and the Macy’s Entities and members of the Clearview Client Class, Plaintiffs
Mutnick, Vance, Calderon, Hall and Carmean and members of the Illinois Subclass have suffered
and will continue to suffer injury.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

         87.    Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass seek as monetary relief the greater of $5,000 or actual damages or, pleaded in the
alternative, $1,000 or actual damages.

ANSWER:        The Macy’s Entities deny that Plaintiffs Mutnick, Vance, Calderon, Hall, and

Carmean and members of the Illinois Subclass are entitled to any award of damages against any

one of them. The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations asserted in this paragraph against any Defendant other than the Macy’s

Entities and therefore deny them.

        88.     Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Ton-That, Schwartz and the Macy’s Entities and members of
the Clearview Client Class will continue to cause great and irreparable injury to Plaintiffs Mutnick,
Vance, Calderon, Hall and Carmean and members of the Illinois Subclass in that their biometric
identifiers and information can be viewed and used by unauthorized persons. Plaintiffs Mutnick,
Vance, Calderon, Hall and Carmean and members of the Illinois Subclass have no adequate
remedy at law for their injuries in that a judgment for monetary damages will not end the misuse of
their biometric identifiers and information.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

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form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

         89.   Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass also seek punitive damages, injunctive relief and the reasonable attorney’s fees,
costs and expenses relating to this action.

ANSWER:        The Macy’s Entities deny that Plaintiffs Mutnick, Vance, Calderon, Hall, and

Carmean and members of the Illinois Subclass are entitled to any award of relief against them. The

Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

                                     COUNT TWO
                       VIOLATION OF BIPA – 740 ILCS 14/15(b)
(By Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean, on Behalf of Themselves and
   Members of the Illinois Subclass, Against Defendants Rocky Mountain, Clearview,
                           Ton-That, Schwartz and Mulcaire)

       90.    Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean restate and reallege
paragraphs 1 through 76 and 78 through 83 of this Second Amended Consolidated Class Action
Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 76 and 78 through 83 as if fully set forth herein.

        91.     In or about September 2019, Rocky Mountain collected, captured, purchased,
received through trade and/or otherwise obtained the biometric identifiers and information of
Plaintiffs Mutnick, Vance, Calderon, Hall, Carmean and members of the Illinois Subclass, among
others, for the purpose of distributing, redistributing and disseminating those biometric identifiers
and biometric information to Illinois entities in Illinois, including the Illinois Secretary of State.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        92.    As alleged above, Defendants Rocky Mountain, Clearview, Ton-That, Schwartz
and Mulcaire violated BIPA by collecting, capturing, purchasing, receiving through trade and/or
otherwise obtaining individuals’ biometric identifiers and information, including the biometric
identifiers and information of Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and


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members of the Illinois Subclass, without first providing the requisite written information and
without obtaining the requisite written releases.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

      93.    The BIPA violations of Defendants Rocky Mountain, Clearview, Ton-That,
Schwartz and Mulcaire were intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        94.  As a direct and proximate result of the BIPA violations of Defendants Rocky
Mountain, Clearview, Ton-That, Schwartz and Mulcaire, Plaintiffs Mutnick, Vance, Calderon,
Hall and Carmean and members of the Illinois Subclass have suffered and will continue to suffer
injury.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         95.    Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass seek as monetary relief the greater of $5,000 or actual damages or, pleaded in the
alternative, $1,000 or actual damages.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        96.   Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire will
continue to cause great and irreparable injury to Plaintiffs Mutnick, Vance, Calderon, Hall and
Carmean and members of the Illinois Subclass in that their biometric identifiers and information
can be viewed and used by unauthorized persons. Plaintiffs Mutnick, Vance, Calderon, Hall and
Carmean and members of the Illinois Subclass have no adequate remedy at law for their injuries in
that a judgment for monetary damages will not end the misuse of their biometric identifiers and
information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         97.   Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass also seek punitive damages, injunctive relief and the reasonable attorney’s fees,
costs and expenses relating to this action.

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ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                     COUNT THREE
                      VIOLATION OF BIPA – 740 ILCS § 14/15(c)
(By Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean, on Behalf of Themselves and
Members of the Illinois Subclass, Against Defendants Clearview, Ton-That, Schwartz and
              the Macy’s Entities and Members of the Clearview Client Class)

       98.     Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean restate and reallege
paragraphs 1 through 76 and 78 through 83 of this Second Amended Consolidated Class Action
Complaint, as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 76 and 78 through 83 as if fully set forth herein.

        99.    As alleged above, Defendants Clearview, Ton-That, Schwartz and the Macy’s
Entities and the Clearview Client Class violated BIPA by unlawfully selling, leasing, trading and
otherwise profiting from individuals’ biometric identifiers and biometric information, including
the biometric identifiers and information of Plaintiffs Mutnick, Vance, Calderon, Hall and
Carmean and members of the Illinois Subclass.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        100. The BIPA violations of Defendants Clearview, Ton-That, Schwartz and the Macy’s
Entities and members of the Clearview Client Class were intentional and reckless or, pleaded in
the alternative, negligent.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

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       101. As a direct and proximate result of the BIPA violations of Defendants Clearview,
Ton-That, Schwartz and the Macy’s Entities and members of the Clearview Client Class, Plaintiffs
Mutnick, Vance, Calderon, Hall and Carmean and members of the Illinois Subclass have suffered
and will continue to suffer injury.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

         102. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass seek as monetary relief the greater of $5,000 or actual damages or, pleaded in the
alternative, $1,000 or actual damages.

ANSWER:        The Macy’s Entities deny that Plaintiffs Mutnick, Vance, Calderon, Hall and

Carmean and members of the Illinois Subclass are entitled to any award of damages against the

Macy’s Entities. The Macy’s Entities lack knowledge or information sufficient to form a belief as

to the truth of the allegations asserted in this paragraph against any Defendant other than the

Macy’s Entities and therefore deny them.

        103. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Ton-That, Schwartz and the Macy’s Entities and members of
the Clearview Client Class will continue to cause great and irreparable injury to Plaintiffs Mutnick,
Vance, Calderon, Hall and Carmean and members of the Illinois Subclass in that their biometric
identifiers and information can be viewed and used by unauthorized persons. Plaintiffs Mutnick,
Vance, Calderon, Hall and Carmean and members of the Illinois Subclass have no adequate
remedy at law for their injuries in that a judgment for monetary damages will not end the misuse of
their biometric identifiers and information.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

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         104. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass also seek punitive damages, injunctive relief and the reasonable attorney’s fees,
costs and expenses relating to this action.

ANSWER:        The Macy’s Entities deny that Plaintiffs Mutnick, Vance, Calderon, Hall, and

Carmean and members of the Illinois Subclass are entitled to any award of relief against the

Macy’s Entities. The Macy’s Entities lack knowledge or information sufficient to form a belief as

to the truth of the allegations asserted in this paragraph against any Defendant other than the

Macy’s Entities and therefore deny them.

                                     COUNT FOUR
                      VIOLATION OF BIPA – 740 ILCS § 14/15(c)
(By Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean, on Behalf of Themselves and
   Members of the Illinois Subclass, Against Defendants Rocky Mountain, Clearview,
                           Ton-That, Schwartz and Mulcaire)

       105. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean restate and reallege
paragraphs 1 through 76 and 78 through 83 of this Second Amended Consolidated Class Action
Complaint, as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraph 1 through 76 and 78 through 83 as if fully set forth herein.

         106. As alleged above, through the contract between Defendant Rocky Mountain and
the Illinois Secretary of State, Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and
Mulcaire violated BIPA by unlawfully selling, leasing, trading and otherwise profiting from
individuals’ biometric identifiers and biometric information, including the biometric identifiers
and information of Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

      107. The BIPA violations of Defendants Rocky Mountain, Clearview, Ton-That,
Schwartz and Mulcaire were intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.



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        108. As a direct and proximate result of the BIPA violations of Defendants Rocky
Mountain, Clearview, Ton-That, Schwartz and Mulcaire, Plaintiffs Mutnick, Vance, Calderon,
Hall and Carmean and members of the Illinois Subclass have suffered and will continue to suffer
injury.

ANSWER:          The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         109. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass seek as monetary relief the greater of $5,000 or actual damages or, pleaded in the
alternative, $1,000 or actual damages.

ANSWER:          The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        110. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Rocky Mountain, Clearview, Ton-That, Schwartz and Mulcaire will
continue to cause great and irreparable injury to Plaintiffs Mutnick, Vance, Calderon, Hall and
Carmean and members of the Illinois Subclass in that their biometric identifiers and information
can be viewed and used by unauthorized persons. Plaintiffs Mutnick, Vance, Calderon, Hall and
Carmean and members of the Illinois Subclass have no adequate remedy at law for their injuries in
that a judgment for monetary damages will not end the misuse of their biometric identifiers and
information.

ANSWER:          The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         111. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass also seek punitive damages, injunctive relief and the reasonable attorney’s fees,
costs and expenses relating to this action.

ANSWER:          The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                          COUNT FIVE
                            VIOLATION OF BIPA – 740 ILCS § 14/15(d)
             (By Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean, on Behalf of
               Themselves and Members of the Illinois Subclass, Against Defendants
                               Clearview, Ton-That and Schwartz)

       112. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean restate and reallege
paragraphs 1 through 76 and 78 through 83 of this Second Amended Consolidated Class Action
Complaint as though fully set forth herein.

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ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 76 and 78 through 83 as if fully set forth herein.

        113. As alleged above, Defendants Clearview, Ton-That and Schwartz violated BIPA by
disclosing, redisclosing and otherwise disseminating individuals’ biometric identifiers and
information, including the biometric identifiers and information of Plaintiffs Mutnick, Vance,
Calderon, Hall and Carmean and members of the Illinois Subclass, even though: (a) neither the
subjects of the biometric identifiers and information nor their authorized representatives consented
to the disclosure and redisclosure; (b) the disclosure and redisclosure did not complete a financial
transaction requested or authorized by the subjects of the biometric identifiers and information or
their authorized representatives; (c) the disclosure and redisclosure were not required by State or
federal law or municipal ordinance; and (d) the disclosure and redisclosure were not required
pursuant to a valid warrant or subpoena issued by a court of competent jurisdiction.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        114. The BIPA violations of Defendants Clearview, Ton-That and Schwartz were
intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         115. As a direct and proximate result of the BIPA violations of Defendants Clearview,
Ton-That and Schwartz, Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of
the Illinois Subclass have suffered and will continue to suffer injury.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         116. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass seek as monetary relief the greater of $5,000 or actual damages or, pleaded in the
alternative, $1,000 or actual damages.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        117. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Ton-That and Schwartz will continue to cause great and
irreparable injury to Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass in that their biometric identifiers and information can be viewed and used by
unauthorized persons. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the

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Illinois Subclass have no adequate remedy at law for their injuries in that a judgment for monetary
damages will not end the misuse of their biometric identifiers and information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         118. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass also seek punitive damages, injunctive relief and the reasonable attorneys’ fees,
costs and expenses relating to this action.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                      COUNT SIX
                      VIOLATION OF BIPA – 740 ILCS § 14/15(d)
(By Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean, on Behalf of Themselves and
   Members of the Illinois Subclass, Against Defendants Rocky Mountain, Clearview,
                           Ton-That, Schwartz and Mulcaire)

       119. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean restate and reallege
paragraphs 1 through 76 and 78 through 83 of this Second Amended Consolidated Class Action
Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraph 1 through 76 and 78 through 83 as if fully set forth herein.

        120. As alleged above, Defendants Rocky Mountain, Clearview, Ton-That, Schwartz
and Mulcaire violated BIPA by disclosing, redisclosing and otherwise disseminating individuals’
biometric identifiers and information to the Illinois Secretary of State in Illinois, including the
biometric identifiers and information of Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean
and members of the Illinois Subclass, even though: (a) neither the subjects of the biometric
identifiers and information nor their authorized representatives consented to the disclosure and
redisclosure; (b) the disclosure and redisclosure did not complete a financial transaction requested
or authorized by the subjects of the biometric identifiers and information or their authorized
representatives; (c) the disclosure and redisclosure were not required by State or federal law or
municipal ordinance; and (d) the disclosure and redisclosure were not required pursuant to a valid
warrant or subpoena issued by a court of competent jurisdiction.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.




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       121. The BIPA violations of Defendants Clearview, Ton-That, Schwartz and Mulcaire
were intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

      122. As a direct and proximate result of the BIPA violations of Defendants Clearview,
Ton-That, Schwartz and Mulcaire, Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and
members of the Illinois Subclass have suffered and will continue to suffer injury.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         123. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass seek as monetary relief the greater of $5,000 or actual damages or, pleaded in the
alternative, $1,000 or actual damages.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.


         124. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Ton-That, Schwartz and Mulcaire will continue to cause great
and irreparable injury to Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of
the Illinois Subclass in that their biometric identifiers and information can be viewed and used by
unauthorized persons. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass have no adequate remedy at law for their injuries in that a judgment for monetary
damages will not end the misuse of their biometric identifiers and information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         125. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass also seek punitive damages, injunctive relief and the reasonable attorneys’ fees,
costs and expenses relating to this action.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.




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                                     COUNT SEVEN
                       VIOLATION OF BIPA – 740 ILCS § 14/15(e)
 (By Plaintiffs Mutnick, Vance Calderon, Hall and Carmean, on Behalf of Themselves and
    Members of the Illinois Subclass, Against Defendants Clearview, Rocky Mountain,
                            Ton-That, Schwartz and Mulcaire)

       126. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean restate and reallege
paragraphs 1 through 76 and 78 through 83 of this Second Amended Consolidated Class Action
Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraph 1 through 76 and 78 through 83 as if fully set forth herein.

        127. As alleged above, Defendants Clearview, Rocky Mountain, Ton-That, Schwartz
and Mulcaire violated BIPA because, while in possession of the biometric identifiers and
biometric information of Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of
the Illinois Subclass, they failed to protect from disclosure those biometric identifiers and
information: (a) using the reasonable standard of care within Clearview’s and Rocky Mountain’s
industry; and (b) in a manner that is the same as or more protective than the manner in which
Clearview and Rocky Mountain protect and protected other confidential and sensitive information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        128. As alleged above, Defendant Clearview’s electronic systems have a history of data
breaches. Moreover, on information and belief, Defendant Rocky Mountain relied on Clearview’s
defective electronic systems for storage and protection of Rocky Mountain’s Biometric Database.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

      129. The BIPA violations of Defendants Clearview, Rocky Mountain Ton-That,
Schwartz and Mulcaire were intentional and reckless or, pleaded in the alternative, negligent.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       130. As a direct and proximate result of the BIPA violations of Defendants Clearview,
Rocky Mountain, Ton-That, Schwartz and Mulcaire, Plaintiffs Mutnick, Vance, Calderon, Hall
and Carmean and members of the Illinois Subclass have suffered and will continue to suffer injury.




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ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

      131. Plaintiffs and Class Members seek as monetary relief the greater of $5,000 or actual
damages or, pleaded in the alternative, $1,000 or actual damages.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        132. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire will
continue to cause great and irreparable injury to Plaintiffs Mutnick, Vance, Calderon, Hall and
Carmean and members of the Illinois Subclass in that their biometric identifiers and information
can be viewed and used by unauthorized persons. Plaintiffs Mutnick, Vance, Calderon, Hall and
Carmean and members of the Illinois Subclass have no adequate remedy at law for their injuries in
that a judgment for monetary damages will not end the misuse of their biometric identifiers and
information.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

         133. Plaintiffs Mutnick, Vance, Calderon, Hall and Carmean and members of the
Illinois Subclass also seek punitive damages, injunctive relief and the reasonable attorney’s fees,
costs and expenses relating to this action.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                     COUNT EIGHT
                       VIOLATION OF VIRGINIA CODE § 8.01-40
    (By Plaintiff Roberson, on Behalf of Himself and Members of the Virginia Subclass,
    Against Defendants Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire)

     134. Plaintiff Roberson restates and realleges paragraphs 1 through 76 of this Second
Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraph 1 through 76 as if fully set forth herein

        135.   Virginia Code § 8.01-40 provides:



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        Unauthorized use of name or picture of any person; punitive damages; statute
        of limitations.

        A.       Any person whose name, portrait, or picture is used without having first
        obtained the written consent of such person . . . for the purposes of trade . . . may
        maintain a suit in equity against the person, firm, or corporation so using such
        person's name, portrait, or picture to prevent and restrain the use thereof; and may
        also sue and recover damages for any injuries sustained by reason of such use. And
        if the defendant shall have knowingly used such person's name, portrait or picture
        in such manner as is forbidden or declared to be unlawful by this chapter, the jury,
        in its discretion, may award punitive damages.

Va. Code § 8.01-40(A) (emphasis added).

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        136. Defendants Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire have
violated this provision by knowingly using personal data, photographs, and likenesses of Plaintiff
Roberson and members of the Virginia Subclass without their written consent for the purposes of
trade.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

                                      COUNT NINE
                VIOLATION OF VIRGINIA COMPUTER CRIMES ACT –
                               Va. CODE § 18.2-152.1, et seq.
    (By Plaintiff Roberson, on Behalf of Himself and Members of the Virginia Subclass,
                  Against Defendants Clearview, Ton-That and Schwartz)

     137. Plaintiff Roberson restates and realleges paragraphs 1 through 76 of this Second
Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraph 1 through 76 as if fully set forth herein

        138. The Virginia Computer Crimes Act, Va. Code § 18.2-152.1, et seq., prohibits the
actions taken by Defendants Clearview, Ton-That and Schwartz to steal the images of individuals
in violation of the terms of service of the internet websites from which they acquired those images
and, thereafter, to use those images for their for-profit facial recognition businesses.




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ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       139. For each of the actions described below, the Virginia Computer Crimes Act
provides a private right of action as follows:

        A.      Any person whose property or person is injured by reason of a violation of
        any provision of this article or by any act of computer trespass set forth in
        subdivisions A1 through A8 of § 18.2-152.4 regardless of whether such act is
        committed with malicious intent may sue therefor and recover for any damages
        sustained and the costs of suit. Without limiting the generality of the term,
        “damages” shall include loss of profits.

                                         *          *      *

        E.      The provisions of this article shall not be construed to limit any person’s
        right to pursue any additional civil remedy otherwise allowed by law.

Va. Code § 152.12(A).

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        140. Defendants Clearview, Ton-That and Schwartz have committed multiple violations
of the Virginia Computer Crimes Act.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        141.   First, Virginia Code section 18.2-152.3 provides:

        Computer fraud; penalty.

        Any person who uses a computer or computer network, without authority and:

               1.      Obtains property or services by false pretenses;

               2.      Embezzles or commits larceny; or

               3.      Converts the property of another;

        is guilty of the crime of computer fraud.

Va. Code § 18.2-152.3.

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ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.


        142. Under the Virginia Computer Crimes Act, “property” is defined broadly to include
the following:

        “Property” shall include:

               1.      Real property;

               2.      Computers and computer networks;

               3.      Financial instruments, computer data, computer programs, computer
                       software and all other personal property regardless of whether they are:

                       a.     Tangible or intangible;

                       b.     In a format readable by humans or by a computer;

                       c.     In transit between computers or within a computer network or
                              between any devices which comprise a computer; or

                       d.     Located on any paper or in any device on which it is stored by a
                              computer or by a human; and

               4.      Computer services.

Va. Code § 18.2-152.2 (emphasis added).

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       143. By “scraping” the images of Plaintiff Roberson and members of the Virginia
Subclass in violation of the terms of service of the websites on which the images were hosted and
without the consent of Plaintiff Roberson or members of the Virginia Subclass, Defendants
Clearview, Ton-That and Schwartz obtained property, as defined, by false pretenses and also
converted that property.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        144.   Second Virginia Code § 18.2-152.4 provides:

        Computer trespass, penalty.

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         A.     It shall be unlawful for any person . . . to:

                                           *        *       *

                6.      Use a computer or computer network to make or cause to be made
                        an unauthorized copy, in any form, including, but not limited to, any
                        printed or electronic form of computer data, computer programs or
                        computer software residing in, communicated by, or produced by a
                        computer or computer network.

Va. § 18.2-152.4.

ANSWER:         The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       145. By “scraping” the images of Plaintiff Roberson and members of the Virginia
Subclass in violation of the terms of service of the websites on which the images were hosted and
without the consent of Plaintiff Roberson or members of the Virginia Subclass, Defendants
Clearview, Ton-That and Schwartz used a computer or computer network to make an unauthorized
copy of computer data, namely the images of Plaintiff Roberson and members of the Virginia
Subclass, residing in a computer or computer network.

ANSWER:         The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        146.    Third, Virginia Code § 18.2-152.5 provides:

        Computer invasion of privacy; penalties.

         A.     A person is guilty of the crime of computer invasion of privacy when he
         uses a computer or computer network and intentionally examines without
         authority any employment, salary, credit or any other financial or identifying
         information, as defined in clauses (iii) through (xiii) of subsection C of §
         18.2-186.3, relating to any other person. “Examination” under this section requires
         the offender to review the information relating to any other person after the time at
         which the offender knows or should know that he is without authority to view the
         information displayed.

Va. Code § 18.2-152.5(A) (emphasis added). In turn, Virginia Code § 18.2-186.3 defines
“identifying information” to include, inter alia, name, date of birth, and “biometric data,” which
includes the images of Plaintiff Roberson and members of the Virginia Subclass stolen by
Defendants Clearview, Ton-That and Schwartz and used in their Biometric Database.




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ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        147. By “scraping” the images of Plaintiff Roberson and members of the Virginia
Subclass in violation of the terms of service of the websites on which those images were hosted
and without the consent of Plaintiff Roberson and members of the Virginia Subclass, Defendants
Clearview, Ton-That and Schwartz used a computer or computer network to intentionally examine
“identifying information,” including “biometric data,” and reviewed such information as part of
their facial recognition business model “after the time at which the offender knows or should know
that he is without authority to view the information displayed.”

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

        148.   Fourth, Virginia Code § 18.2-152.5:1 provides:

        Using a computer to gather identifying information; penalties.

        A.     It is unlawful for any person, other than a law-enforcement officer, as
        defined in § 9.1-101, and acting in the performance of his official duties, to use a
        computer to obtain, access, or record, through the use of material artifice, trickery
        or deception, any identifying information, as defined in clauses (iii) through (xiii)
        of subsection C of § 18.2-186.3.

Va. Code § 18.2-152.5(A) (emphasis added). Again, Virginia Code § 18.2-186.3 defines
“identifying information” to include, inter alia, name, date of birth, and “biometric data.”

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.

       149. By “scraping” the images of Plaintiff Roberson and members of the Virginia
Subclass in violation of the terms of service of the websites on which the images were hosted and
without the consent of Plaintiff Roberson and members of the Virginia Subclass, Defendants
Clearview, Ton-That and Schwartz used a computer to obtain, access and record, through the use
of material artifice, trickery or deception, identifying information, as defined in clauses (iii)
through (xiii) of subsection C of § 18.2-186.3.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required.




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                                        COUNT TEN
                VIOLATION OF CAL. BUS. & PROF. CODE § 17200, et seq.
    (By Plaintiff Vestrand, on Behalf of Herself and Members of the California Subclass,
              Against Defendants and Members of the Clearview Client Class)4

     150. Plaintiff Vestrand restates and realleges paragraphs 1 through 76 of this Second
Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:         On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

        151. California’s Unfair Competition Law (the “UCL”) prohibits any “unlawful, unfair
or fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising.” Cal.
Bus. & Prof. Code § 17200.

ANSWER:         On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

      152. Defendants engaged in unlawful and unfair business acts and practices within the
meaning of the UCL.

ANSWER:         On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

        153.    Defendants have engaged in the following unlawful and unfair business acts and
practices:

                a.      Failing to comply with § 1798.100(b) of the California Consumer Privacy
                        Act (“CCPA”), as alleged herein;

                b.      Commercial Misappropriation under Cal. Civ. Code § 3344(a), as alleged
                        below;

                c.      Invasion of privacy under the California Constitution, Art. I, § 1, as alleged
                        below;

                d.      Violation of California’s common law right of publicity, as alleged below;

                e.      Failing to provide adequate data security of the data they have collected, as
                        alleged above; and



4Plaintiffs recognize that the Court dismissed this Count from Plaintiffs First Amended Consolidated Class
Action Complaint. Plaintiffs reallege it here for the sole purpose of preserving their appellate rights.
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                f.      Omitting, suppressing and concealing that they did not comply with
                        common law and statutory duties pertaining to the personal information of
                        Plaintiff Vestrand and members of the California Subclass, including duties
                        imposed by California Constitution, Art. I, § I; the CCPA, Cal. Civ. Code §
                        1798.100(b); and Cal. Civ. Code § 3344(a).

ANSWER:         On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

        154. With respect to Defendants’ violations of the CCPA, pursuant to Cal. Civ. Code §
1798.100(b), a business: (a) “that collects a consumer’s personal information shall, at or before the
point of collection, inform customers as to the categories of personal information to be collected
and the purposes for which the categories of personal information shall be used”; and (b) “shall not
collect additional categories of personal information or use personal information collected for
additional purposes without providing the consumer with notice consistent with this section.” Cal.
Civ. Code § 1798.100(b).

ANSWER:         On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

         155. Section 1798.140(o)(1) defines “personal information” as “information that
identifies, relates to, describes, is reasonably capable of being associated with, or could reasonably
be linked, directly or indirectly, with a particular consumer or household.” Cal. Civ. Code §
1798.140(o)(1). Personal information includes, but is not limited to, “[b]iometric information.”
Cal. Civ. Code § 1798.140(o)(1)(E). “‘Biometric information’ means an individual’s
physiological, biological, or behavioral characteristics . . . that can be used, singly or in
combination with each other or with other identifying data, to establish individual identity.” Cal.
Civ. Code § 1798.140(b). “‘Biometric information’ includes, but is not limited to, imagery of the .
. . face . . . from which an identifier template, such as a faceprint . . . can be extracted . . . .” Id.

ANSWER:         On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

      156. Plaintiff Vestrand and members of the California Subclass are consumers under the
CCPA. See Cal. Civ. Code § 1798.140(g).

ANSWER:         On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

       157. Defendants Clearview, Rocky Mountain and the Macy’s Entities and members of
the Clearview Client Class are businesses under the CCPA. See Cal. Civ. Code § 1798.140(c).



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ANSWER:        On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

       158. As alleged herein, in violation of the CCPA, Defendants Clearview, Rocky
Mountain and the Macy’s Entities and members of the Clearview Client Class collected the
personal information of Plaintiff Vestrand and members of the California Subclass but failed to
provide Plaintiff Vestrand and members of the California Subclass with the information required
by the CCPA, namely Clearview, Rocky Mountain, the Macy’s Entities and members of the
Clearview Client Class failed to accurately inform Plaintiff Vestrand and members of the
California Subclass as to the categories of personal information to be collected and the purposes
for which the categories of personal information were to be used.

ANSWER:        On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

       159. As alleged herein, Defendants Clearview, Rocky Mountain and the Macy’s Entities
and members of the Clearview Client Class further violated the CCPA by using the personal
information they collected from Plaintiff Vestrand and members of the California Subclass for
undisclosed purposes without providing the requisite notice.

ANSWER:        On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

        160. The above-described conduct of Defendants and members of the Clearview Client
Class constituted unfair practices in violation of the UCL because the practices and acts: (a) were
immoral, unethical, oppressive, unscrupulous and substantially injurious to Plaintiff Vestrand and
members of the California Subclass; and (b) violated established public policy. These acts caused
substantial injury to Plaintiff Vestrand and members of the California Subclass; this substantial
injury outweighed any benefits to competition or the purpose of such conduct, and there were
reasonably available alternatives to further the legitimate business interests of Defendants and
members of the Clearview Client Class.

ANSWER:        On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

        161. As a result of the UCL violations by Defendants and members of the Clearview
Client Class, Plaintiff Vestrand and members of the California Subclass have suffered an
injury-in-fact and have lost money and property. Plaintiff Vestrand and members of the California
Subclass are entitled to restitution and disgorgement, declaratory and other equitable relief.

ANSWER:        On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

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        162. Moreover, Plaintiff Vestrand and members of the California Subclass are entitled
to injunctive relief. Unless and until enjoined and restrained by order of this Court, the wrongful
conduct of Defendants and members of the Clearview Client Class will continue to cause great and
irreparable injury to Plaintiff Vestrand and members of the California Subclass in that Defendants,
members of the Clearview Client Class and others can continue to use the unlawfully obtained
personal information to the detriment of Plaintiff Vestrand and members of the California
Subclass. Plaintiff Vestrand and members of the California Subclass have no adequate remedy at
law for the injuries in that a judgment for monetary damages will not end the alleged invasion of
privacy.

ANSWER:        On January 27, 2022, the Court dismissed Count Ten against the Macy’s Entities.

See Dkt. 272. Therefore, no answer is required.

                                   COUNT ELEVEN
VIOLATION OF CAL. CIV. CODE § 3344(A) – COMMERCIAL MISAPPROPRIATION
  (By Plaintiff Vestrand, on Behalf of Herself and Members of the California Subclass,
            Against Defendants and Members of the Clearview Client Class)

     163. Plaintiff Vestrand restates and realleges paragraphs 1 through 76 of this Second
Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 76 as if fully set forth herein.

          164. California Civil Code § 3344(a) makes it unlawful for any person to knowingly
“use another’s . . . photograph [] or likeness, in any manner . . . without such person’s prior consent
. . . .” Cal. Civ. Code § 3344(a). Any person who violates § 3344(a) is liable to the injured party “in
an amount equal to the greater of seven hundred fifty dollars ($750) or the actual damages suffered
by him or her as a result of the unauthorized use, and any profits from the unauthorized use that are
attributable to the use and are not taken into account in computing actual damages.” Id.

ANSWER:        The allegations contained in this paragraph are legal conclusions to which no

answer is required. To the extent an answer is required, the Macy’s Entities admit the allegations

contained in this paragraph.

        165. As alleged above, Plaintiff Vestrand and members of the California Subclass
posted images of their faces on the internet.

ANSWER:        The Macy’s Entities lack knowledge or information sufficient to form a belief as to

the truth of the allegations contained in this paragraph and therefore deny them.


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        166. In violation of § 3344(a), Defendants and members of the Clearview Client Class
knowingly used photographs and the likenesses of Plaintiff Vestrand and members of the
California Subclass without obtaining their prior consent. Specifically, without providing notice to
Plaintiff Vestrand or members of the California Subclass, Defendants and members of the
Clearview Client Class scraped the photographs of Plaintiff Vestrand and members of the
California Subclass from the internet, amassed the Biometric Database and/or used the Biometric
Database for commercial gain.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

       167. The use photographs and the likenesses of Plaintiff Vestrand and members of the
California Subclass by Defendants and members of the Clearview Client Class did not have any
connection with the news, public affairs, sports broadcast or account, or any political campaign.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than Macy’s and therefore

denies them.

        168. In addition to the above-alleged bases for individual liability against Defendants
Ton-That, Schwartz and Mulcaire, Defendants Ton-That, Schwartz and Mulcaire are personally
liable for the intentionally tortious conduct alleged herein because they participated in that
conduct, consented to it, directed it, authorized it and failed to preclude or otherwise prohibit it.

ANSWER:        The allegations of this paragraph are not asserted against the Macy’s Entities.

Pursuant to Fed. R. Civ. P. 8(b)(1)(B), no answer is required. To the extent an answer is required,

the Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this paragraph and therefore deny them.

        169. As a result of the conduct of Defendants and members of the Clearview Client
Class, Plaintiff Vestrand and members of the California Subclass have been harmed and are
entitled to their actual or statutory damages. Plaintiff Vestrand and members of the California

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Subclass are also entitled to recover their costs and reasonable attorneys’ fees pursuant to Cal. Civ.
Code § 3344(a).

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

                                     COUNT TWELVE
      VIOLATION OF CALIFORNIA COMMON LAW – RIGHT OF PUBLICITY
    (By Plaintiff Vestrand, on Behalf of Herself and Members of the California Subclass,
              Against Defendants and Members of the Clearview Client Class)

     170. Plaintiff Vestrand restates and realleges paragraphs 1 through 76 of this Second
Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 76 as if fully set forth herein.

        171. California’s common law right of publicity protects persons from unauthorized use
of a person’s identity by another for commercial gain.

ANSWER:        The allegations contained in this paragraph are legal conclusions to which no

response is required. To the extent a response is required, the Macy’s Entities deny the allegations

contained in this paragraph.

        172. As alleged above, for commercial gain, Defendants and members of the Clearview
Client Class knowingly used the identities, photographs and likenesses of Plaintiff Vestrand and
members of the California Subclass without authorization. Specifically, without authorization,
Defendants and members of the Clearview Client Class scraped the photographs of Plaintiff
Vestrand and members of the California Subclass from the internet, amassed the Biometric
Database consisting of the Biometrics of Plaintiff Vestrand and members of the California
Subclass, among others, and/or used the Biometric Database for commercial gain or to otherwise
benefit themselves.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to


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form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        173. The unlawful conduct of Defendants and members of the Clearview Client Class
harmed Plaintiff Vestrand and members of the California Subclass. Indeed, at no time has any
Defendant or member of the Clearview Client Class compensated Plaintiff Vestrand or members
of the California Subclass for the use of their identities, photographs and likenesses.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities denies the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

      174. Use of the identities, photographs and likenesses of Plaintiff Vestrand and
members of the California Subclass was directly connected to the commercial activity of
Defendants and members of the Clearview Client Class.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

       175. The actions of Defendants and members of the Clearview Client Class were a
substantial factor in causing harm to Plaintiff Vestrand and members of the California Subclass.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.



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        176. As a direct and proximate result of the misconduct of Defendants and members of
the Clearview Client Class, Plaintiff Vestrand and members of the California Subclass have
suffered damage and are entitled to monetary damages in an amount to be determined at trial.
Plaintiff Vestrand and members of the California Subclass also seek injunctive relief and such
other equitable or declaratory relief as may be appropriate.

ANSWER:           The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities denies the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

                                   COUNT THIRTEEN
                CALIFORNIA CONSTITUTIONAL RIGHT TO PRIVACY
    (By Plaintiff Vestrand, on Behalf of Herself and Members of the California Subclass,
              Against Defendants and Members of the Clearview Client Class)

     177. Plaintiff Vestrand restates and realleges paragraphs 1 through 76 of this Second
Amended Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:           The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 76 as if fully set forth herein.

        178. Plaintiff Vestrand and members of the California Subclass had a reasonable
expectation of privacy to their highly sensitive Biometrics and were entitled to protection of that
sensitive information against the collection, obtainment, use and disclosure thereof by and to
unauthorized parties. As such, Plaintiff Vestrand and members of the California Subclass
possessed a legally protected privacy interest. That privacy interest is reflected in several laws,
including, as alleged above, the CCPA, California Civil Code § 3344(a) and California’s common
law right of publicity.

ANSWER:           The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations contained in

this paragraph.

       179. Defendants and members of the Clearview Client Class intentionally and
maliciously intruded upon the privacy rights of Plaintiff Vestrand and members of the California
Subclass by surreptitiously harvesting their highly sensitive Biometrics, amassing them into the
Biometric Database, widely distributing and disseminating the Biometrics and/or using the
Biometrics to learn personal information about, and the identities of, Plaintiff Vestrand and

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members of the California Subclass. The intrusion upon the privacy rights of Plaintiff Vestrand
and members of the California Subclass by Defendants and members of the Clearview Client Class
occurred in a manner highly offensive to a reasonable person, as a reasonable person would not
expect an unknown and unauthorized party to harvest and use his or her Biometrics in the manner
described herein.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

       180. Moreover, as alleged above, the intrusion upon the privacy rights of Plaintiff
Vestrand and members of the California Subclass by Defendants and members of the Clearview
Client Class was so serious as to constitute an egregious breach of social norms such that the
breach was highly offensive.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        181. As a direct and proximate result of the unlawful invasion of the privacy of Plaintiff
Vestrand and members of the California Subclass by Defendants and members of the Clearview
Client Class, the personal information of Plaintiff Vestrand and members of the California
Subclass has been disclosed to Defendants, members of the Clearview Client Class and countless
others, and their reasonable expectations of privacy have been intruded upon and frustrated.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.


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        182. Plaintiff Vestrand and members of the California Subclass have suffered injuries as
a result of the conduct alleged herein, and they are entitled to appropriate relief, including
compensatory and punitive damages.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that Plaintiff Vestrand and

members of the California Subclass are entitled to any award of relief against the Macy’s Entities.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        183. Moreover, unless and until enjoined and restrained by order of this Court, wrongful
conduct alleged herein will continue to cause great and irreparable injury to Plaintiff Vestrand and
members of the California Subclass in that Defendants, members of the Clearview Client Class
and others can continue to use the unlawfully obtained personal information to the detriment of
Plaintiff Vestrand and members of the California Subclass. Plaintiff Vestrand and members of the
California Subclass have no adequate remedy at law for the injuries in that a judgment for
monetary damages will not end the invasion of their privacy or require Defendants or members of
the Clearview Client Class to delete the personal information in their possession, custody and
control or to retrieve that information from the unauthorized entities to which it was disclosed.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

                                   COUNT FOURTEEN
                   VIOLATION OF N.Y. CIV. RIGHTS LAW §§ 50-51
    (By Plaintiff Hurvitz, on Behalf of Himself and Members of the New York Subclass,
             Against Defendants and Members of the Clearview Client Class)

     184. Plaintiff Hurvitz restates and realleges paragraphs 1 through 76 of this Second
Amended Consolidated Class Action Complaint as though fully set forth herein.




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ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 76 as if fully set forth herein.

        185. As alleged above, Defendants and members of the Clearview Client Class have
violated N.Y. Civil Rights Law §§ 50-51 by invading the privacy of Plaintiff Hurvitz and members
of the New York Subclass and misappropriating their likeness within the State of New York.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

        186. At no point did Defendants or members of the Clearview Client Class receive
permission or consent, be it written or otherwise, to use the identities, photographs or likenesses of
Plaintiff Hurvitz or members of the New York Subclass in connection with the Biometric Database
or their businesses.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

       187. At relevant times, Defendants and members of the Clearview Client Class were
aware that they never received the permission or consent of Plaintiff Hurvitz or members of the
New York Subclass members to use their identities, photographs and likenesses in connection with
the Biometric Database or their businesses.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        188. At no point did Defendants or members of the Clearview Client Class compensate
Plaintiff Hurvitz or members of the New York Subclass for their unauthorized use of the identities,
photographs and likenesses of Plaintiffs and members of the New York Subclass in connection

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with the Biometric Database or the businesses of Defendants or members of the Clearview Client
Class.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

       189. Defendants and members of the Clearview Client Class used the identities,
photographs and likenesses of Plaintiff Hurvitz and members of the New York Subclass in
connection with the Biometric Database and their businesses for the purposes of trade. Defendants
Clearview, Rocky Mountain, Ton-That, Schwartz and Mulcaire made the Biometric Database
available to third parties in return for monetary compensation. Defendant Macy’s and members of
the Clearview Client Class used the Biometric Database in order to reduce theft and improve the
customer experience, all of which positioned them to earn increased profits.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

       190. No applicable privilege or authorization exists for the use of the identities,
photographs and likenesses Plaintiff Hurvitz or members of the New York Subclass by Defendants
and members of the Clearview Client Class in connection with the Biometric Database or the
businesses of Defendants or members of the Clearview Client Class.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities denies the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore deny them.

       191. Due to the herein alleged violation of the rights of privacy and publicity under §§
50 and 51 of the N.Y. Civil Rights Act, Plaintiff Hurvitz and members of the New York Subclass
have been damaged in an amount to be determined at trial.



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ANSWER:         The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny that Plaintiff Hurvitz and

members of the New York Subclass are entitled to any award of relief against the Macy’s Entities.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        192. In addition, and pursuant to § 51 of the N.Y. Civil Rights Act, Plaintiff Hurvitz and
members of the New York Subclass hereby request an Order permanently enjoining Defendants
and members of the Clearview Client Class from violating right to privacy and publicity of
Plaintiff Hurvitz and members of the New York Subclass.

ANSWER:         The Macy’s Entities deny that Plaintiff Hurvitz and members of the New York

Subclass are entitled to any award of relief against the Macy’s Entities. The Macy’s Entities lack

knowledge or information sufficient to form a belief as to the truth of the allegations asserted in

this paragraph against any Defendant other than the Macy’s Entities and therefore deny them.

                                        COUNT FIFTEEN
                                     UNJUST ENRICHMENT
    (By All Plaintiffs, on Behalf of Themselves and Members of the Plaintiff Classes, Against
                     Defendants and Members of the Clearview Client Class)5

       193. Plaintiffs restate and reallege paragraphs 1 through 76 of this Second Amended
Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:         On January 27, 2022, the Court dismissed Count Fifteen against the Macy’s

Entities with respect to an unjust enrichment claim under New York Law. See Dkt. 272. With

respect to unjust enrichment claims under Illinois and California Laws, the Macy’s Entities restate

and reincorporate paragraphs 1 through 76 of the Second Amended Consolidated Complaint as

though fully set forth herein.



5Plaintiffs recognize that the Court dismissed this Count from Plaintiffs First Amended Consolidated Class
Action Complaint. Plaintiffs reallege it here for the sole purpose of preserving their appellate rights.
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        194. To the detriment of Plaintiffs and members of the Plaintiff Classes, Defendants and
members of the Clearview Client Class have been, and continue to be, unjustly enriched as a result
of their wrongful conduct, as alleged herein.

ANSWER:        On January 27, 2022, the Court dismissed Count Fifteen against the Macy’s

Entities with respect to an unjust enrichment claim under New York Law. See Dkt. 272. With

respect to unjust enrichment claims under Illinois and California Laws, the allegations of this

paragraph contain legal conclusions to which no answer is required. To the extent an answer is

required, the Macy’s Entities deny the allegations asserted against them in this paragraph. The

Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        195. Plaintiffs and members of the Plaintiff Classes conferred a benefit on Defendants
and members of the Clearview Client Class in that, without authorization and through inequitable
means, Defendants and members of the Clearview Client Class: (a) covertly scraped photographs
of Plaintiffs and members of the Plaintiff Classes from the internet; (b) collected, captured,
purchased, received through trade and otherwise obtained and used the Biometrics of Plaintiffs
and members of the Plaintiff Classes; (c) amassed a Biometric Database containing those
Biometrics; (d) distributed, redistributed and disseminated the Biometric Database; and/or (e)
sold, traded, leased and otherwise profited from the Biometric Database and Biometrics.
Defendants and members of the Clearview Client Class did not compensate Plaintiffs and
members of the Plaintiff Classes for the benefit received from the above-described conduct.

ANSWER:        On January 27, 2022, the Court dismissed Count Fifteen against the Macy’s

Entities with respect to an unjust enrichment claim under New York Law. See Dkt. 272. With

respect to unjust enrichment claims under Illinois and California Laws, the allegations of this

paragraph contain legal conclusions to which no answer is required. To the extent an answer is

required, the Macy’s Entities deny the allegations asserted against them in this paragraph. The

Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.


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        196. Defendants and members of the Clearview Client Class appreciated, accepted and
retained the benefit bestowed upon them under inequitable and unjust circumstances arising from
their conduct toward Plaintiffs and members of the Plaintiff Classes, as alleged herein.

ANSWER:        On January 27, 2022, the Court dismissed Count Fifteen against the Macy’s

Entities with respect to an unjust enrichment claim under New York Law. See Dkt. 272. With

respect to unjust enrichment claims under Illinois and California Laws, the allegations of this

paragraph contain legal conclusions to which no answer is required. To the extent an answer is

required, the Macy’s Entities deny the allegations asserted against them in this paragraph. The

Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        197.   Plaintiffs and members of the Plaintiff Classes have no adequate remedy at law.

ANSWER:        On January 27, 2022, the Court dismissed Count Fifteen against the Macy’s

Entities with respect to an unjust enrichment claim under New York Law. See Dkt. 272. With

respect to unjust enrichment claims under Illinois and California Laws, allegations of this

paragraph contain legal conclusions to which no answer is required. To the extent an answer is

required, the Macy’s Entities deny the allegations contained in this paragraph.

        198. Under the circumstances, it would be unjust and unfair for Defendants and
members of the Clearview Client Class to be permitted to retain any of the benefits obtained from
Plaintiffs and members of the Plaintiff Classes.

ANSWER:        On January 27, 2022, the Court dismissed Count Fifteen against the Macy’s

Entities with respect to an unjust enrichment claim under New York Law. See Dkt. 272. With

respect to unjust enrichment claims under Illinois and California Laws, the allegations of this

paragraph contain legal conclusions to which no answer is required. To the extent an answer is

required, the Macy’s Entities deny the allegations asserted against them in this paragraph. The

Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

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allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

       199. Under the principles of equity and good conscience, Defendants and members of
the Clearview Client Class should not be permitted to retain the photographs, biometric identifiers
and information belonging to Plaintiffs and members of the Plaintiff Classes because Defendants
and members of the Clearview Client Class unlawfully obtained that information.

ANSWER:        On January 27, 2022, the Court dismissed Count Fifteen against the Macy’s

Entities with respect to an unjust enrichment claim under New York Law. See Dkt. 272. With

respect to unjust enrichment claims under Illinois and California Laws, the allegations of this

paragraph contain legal conclusions to which no answer is required. To the extent an answer is

required, the Macy’s Entities deny the allegations asserted against them in this paragraph. The

Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        200. Defendants and members of the Clearview Client Class should be compelled to
disgorge into a common fund or constructive trust, for the benefit of Plaintiffs and members of the
Plaintiff Classes, proceeds that they unjustly received from the sale, lease, trade, distribution,
dissemination and use of the personal information of Plaintiffs and members of the Plaintiff
Classes.

ANSWER:        On January 27, 2022, the Court dismissed Count Fifteen against the Macy’s

Entities with respect to an unjust enrichment claim under New York Law. See Dkt. 272. With

respect to unjust enrichment claims under Illinois and California Laws, the allegations of this

paragraph contain legal conclusions to which no answer is required. To the extent an answer is

required, the Macy’s Entities deny the allegations asserted against them in this paragraph. The

Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.


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                                     COUNT SIXTEEN
              DECLARATORY JUDGMENT ACT, 28 U.S.C. § 2201, et seq.
 (By All Plaintiffs, on Behalf of Themselves and Members of the Plaintiff Classes, Against
                  Defendants and Members of the Clearview Client Class)

       201. Plaintiffs restate and reallege paragraphs 1 through 76 of this Second Amended
Consolidated Class Action Complaint as though fully set forth herein.

ANSWER:        The Macy’s Entities restate and reincorporate by reference their answers to

paragraphs 1 through 76 as if fully set forth herein.

        202. Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is
authorized to enter a judgment declaring the rights and legal relations of the parties and grant
further necessary relief. Further, the Court has broad authority to restrain acts, such as here, that
are tortious and that violate the terms of the statutes described in this Second Amended
Consolidated Class Action Complaint.

ANSWER:        The allegations contained in this paragraph are legal conclusions to which no

answer is required. To the extent an answer is required, the Macy’s Entities deny the allegations

contained in this paragraph.

       203. An actual controversy has arisen in the wake of the unlawful collection,
obtainment, purchase, trade, disclosure, dissemination, sale and/or misuse by Defendants and
members of the Clearview Client Class of the photographs and Biometrics of Plaintiffs and
members of the Plaintiff Classes without their consent, as alleged herein, in violation of the
common law and statutory duties of Defendants and Members of the Clearview Client Class.

ANSWER:        The allegations of this paragraph contain legal conclusions to which no answer is

required. To the extent an answer is required, the Macy’s Entities deny the allegations asserted

against them in this paragraph. The Macy’s Entities lack knowledge or information sufficient to

form a belief as to the truth of the allegations asserted in this paragraph against any Defendant

other than the Macy’s Entities and therefore denies them.

        204. Plaintiffs and members of the Plaintiff Classes continue to suffer injury and
damages, as described herein, as Defendants and members of the Clearview Client Class continue
to collect, obtain, purchase, trade, disclose, sell and/or misuse the photographs and Biometrics of
Plaintiffs and members of the Plaintiff Classes.




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ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        205. Pursuant to its authority under the Declaratory Judgment Act, this Court should
enter a judgment declaring, among other things, the following:

               a.      Defendants and members of the Clearview Client Class continue to owe a
                       legal duty to not collect, obtain, purchase, trade, disclose, sell or otherwise
                       misuse the photographs and Biometrics of Plaintiffs and members of the
                       Plaintiff Classes under, inter alia, the state statutes and constitutional
                       provisions described in this Second Amended Consolidated Class Action
                       Complaint and the common law;

               b.      Defendants and members of the Clearview Client Classes continue to
                       breach their legal duties to Plaintiffs and members of the Classes by
                       continuing to collect, obtain, purchase, trade, disclose, sell and otherwise
                       misuse the photographs and Biometrics of Plaintiffs and members of the
                       Plaintiff Classes; and

               c.      The ongoing breaches by Defendants and members of the Clearview Client
                       Class of their legal duties continue to cause harm to Plaintiffs and members
                       of the Plaintiff Classes.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph

and subparagraphs. The Macy’s Entities lack knowledge or information sufficient to form a belief

as to the truth of the allegations asserted in this paragraph against any Defendant other than the

Macy’s Entities and therefore deny them.

        206. The Court should also issue corresponding injunctive relief, including, but not
limited to: (a) enjoining Defendants and members of the Clearview Client Class from engaging in
the unlawful conduct alleged in this claim; (b) requiring Defendants and members of the
Clearview Client Class to delete all photographs and Biometrics of Plaintiffs and members of the
Plaintiff Classes; and (c) cease further collection of photographs and Biometrics of Plaintiffs or
members of the Plaintiff Classes or engaging in any activities that would result in the purchase,
obtainment, disclosure, trade, sale or misuse of the photographs and Biometrics of Plaintiffs and
members of the Plaintiff Classes. If an injunction is not issued, Plaintiffs and members of the
Plaintiff Classes will suffer irreparable injury and lack an adequate legal remedy in the event the
statutory or common law does not prohibit, among other things, the collection, purchase,
obtainment, trade, disclosure, sale and misuse of the photographs and Biometrics of Plaintiffs and

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members of the Plaintiff Classes. Illinois in particular specifically constrains the collection,
purchase, obtainment, trade, disclosure and sale of Biometrics and recognizes a person’s right to
maintain such personal information as private. In light of the pervasive flaunting of such rights by
Defendants and members of the Clearview Client Class, including the continued collection,
purchase, obtainment, trade, disclosure, sale and/or misuse of the photographs and Biometrics of
Plaintiffs and members of the Plaintiff Classes, the risk of continued violations of Illinois law,
other states’ laws, and the common law is real, immediate and substantial. Plaintiffs and members
of the Plaintiff Classes do not have an adequate remedy at law because many of the resulting
injuries are reoccurring and Plaintiffs and members of the Plaintiff Classes will be forced to bring
multiple lawsuits to rectify the same conduct.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        207. The hardship to Plaintiffs and members of the Plaintiff Classes if an injunction is
not issued exceeds the hardship to Defendants and members of the Clearview Client Class if an
injunction is issued. On the other hand, the cost to Defendants and members of the Clearview
Client Class of complying with an injunction by adhering to the requirements of Illinois law, other
states’ laws and the common law by ceasing to engage in the misconduct alleged herein is
relatively minimal, and Defendants and members of the Clearview Client Class have a pre-existing
legal obligation to avoid invading the privacy rights of consumers.

ANSWER:        The Macy’s Entities deny the allegations asserted against them in this paragraph.

The Macy’s Entities lack knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in this paragraph against any Defendant other than the Macy’s Entities and

therefore deny them.

        208. Issuance of the requested injunction will serve the public interest by preventing
ongoing collection, purchase, obtainment, trade, disclosure, sale and misuse of the photographs
and Biometrics of Plaintiffs and members of the Plaintiff Classes without consent, thus eliminating
the injuries that would result to Plaintiffs and members of the Plaintiff Classes, and the hundreds of
millions of Americans who upload photographs to social media sites.

ANSWER:        The Macy’s Entities deny the allegations contained in this paragraph.


                           AMENDED AFFIRMATIVE DEFENSES



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        The Macy’s Entities deny the claims asserted by Plaintiffs. Notwithstanding, the Macy’s

Entities assert the following defenses without assuming any burdens of production or proof that,

pursuant to law, belong to Plaintiffs. The Macy’s Entities reserve the right to amend their answer

and to assert any additional defenses as may become available or apparent during the course of this

litigation.



                                 FIRST AFFIRMATIVE DEFENSE
                                      (ACTS OF OTHERS)

        1.        Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, because all or part of the damages alleged, if any, were caused by the acts or omissions

of persons or entities other than the Macy’s Entities for whose conduct the Macy’s Entities are not

legally responsible.

        2.        In contracting to provide services to the Macy’s Entities, Defendant Clearview

represented and warranted that:

              a. It shall not include any biometric data results of Illinois residents;

              b. It shall perform all services in a timely and professional manner;

              c. It shall not infringe or violate the rights of others;

              d. The acts and omissions of Defendant Clearview would not be construed as

                  imposing liability upon the Macy’s Entities;

              e. Defendant Clearview shall obtain all licenses and other governmental

                  authorizations and approvals required for the performance of its obligations under

                  the parties’ agreement;

              f. Defendant Clearview shall perform its obligations under the parties’ agreement in

                  accordance with all applicable laws and regulations;

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             g. Defendant Clearview would take every step necessary to ensure that its product and

                services are used correctly and lawfully;

             h. Defendant Clearview would use and handle any personal information provided to it

                by the Macy’s Entities for purposes of performing services under the agreement in

                compliance with all applicable laws, including all laws governing the privacy,

                confidentiality and security of personal information;

             i. Defendant Clearview shall notify the Macy’s Entities of any actual or suspected

                security breach, hacking, unauthorized disclosure, access to, acquisition of or other

                loss or use of personal information relating to Defendant Clearview’s performance

                of services under the parties’ agreement; and

             j. Defendant Clearview shall implement and maintain a written information security

                program and perform other commercially reasonable security measures to

                safeguard personal information and other data it receives in connection with

                performing the services under the parties’ agreement and in compliance with

                applicable privacy laws.

                             SECOND AFFIRMATIVE DEFENSE

                         (GOVERNMENT CONTRACT EXCEPTION)

        3.      Plaintiffs’ and the putative plaintiff class members’ BIPA claims are barred, in

whole or in part, because BIPA includes an exemption for “a contractor, subcontractor, or agent of

a State agency or local unit of government when working for that State agency or local unit of

government.” 740 ILCS 14/25.

        4.      On the occasion that the Macy’s Entities availed themselves of Defendant

Clearview’s services, it did so while engaged by law enforcement for a state agency or local unit of



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government to assist in the investigation of burglaries, acts of retail theft and other criminal

activity.

                               THIRD AFFIRMATIVE DEFENSE
                                (PHOTOGRAPH EXEMPTION)

        5.      Plaintiffs’ and the putative plaintiff class members’ BIPA claims are barred, in

whole or in part, because BIPA expressly excludes from the definition of biometric identifiers both

photographs and information derived from photographs. 740 ILCS 14/10.

        6.      The sole conduct attributable to the Macy’s Entities involve submitting a

photograph to Defendant Clearview pursuant to the parties’ agreement.

                             FOURTH AFFIRMATIVE DEFENSE
                               (INAPPLICABILITY OF BIPA)

        7.      Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, because while providing services to the Macy’s Entities, Defendant Clearview did not

include any biometric data results of Illinois residents.

                               FIFTH AFFIRMATIVE DEFENSE
                                (STATUTE OF LIMITATIONS)

        8.      Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, by the applicable statute of limitations, as follows:

             Claim                    Statute of Limitations                  Authority
    Section 15 (b) of BIPA                    5 years               Tims v. Black Horse Carriers,
                                                                    Inc., 2021 IL App (1st)
                                                                    200563 ¶ 33 (Sept. 17, 2021).
                                                                    Youngevity Int’l, Corp. v.
         Commercial                                                 Smith, 224 F. Supp. 3d 1022,
      Misappropriation                        2 years               1027 (S.D. Cal. 2016) (citing
  Cal. Civ. Code § 3344(A)                                          Yeager v. Bowlin, 693 F.3d
                                                                    1076, 1081 (9th Cir. 2012))
                                                                    Yeager, 693 F.3d at 1081
   California Common Law                      2 years               (citing Christoff v. Nestle
      Right of Publicity                                            USA, Inc., 47 Cal. 4th 468
                                                                    (2009))

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Section 15(c) of BIPA                          1 year               Tims v. Black Horse Carriers,
                                                                    Inc., 2021 IL App (1st)
                                                                    200563 ¶ 33 (Sept. 17, 2021).
                                                                    Cain v. State Farm Mut. Auto.
                                                                    Ins., 62 Cal. App. 3d 310, 313
   California Constitutional                   1 year               (Cal. Ct. App. 1976); Lauter
       Right to Privacy                                             v. Anoufrieva, 342 F. Supp. 2d
                                                                    1060, 1104 (C.D. Cal. 2009)
                                                                    Nussenzweig v. diCorcia, 9
       N.Y. Civ. Rights                        1 year               N.Y.3d 184, 188 (2007);
        Law §§ 50-51                                                Gibson v. SCE Grp., Inc., 391
                                                                    F. Supp. 3d 228, 250
                                                                    (S.D.N.Y. 2019)


          9.    The Macy’s Entities ceased using Defendant Clearview’s services in or before

March 2020.

          10.   The acts or omissions giving rise to the claims of Plaintiffs and the putative class

arose prior to the applicable statute of limitations.

          11.   As a result, Plaintiffs’ and the putative plaintiff class members’ claims are barred

  to the extent the claims were raised outside of the statute of limitations to assert such claims.

                    SIXTH AFFIRMATIVE DEFENSE
 (ACUIESCENSE, ASSUMPTION OF RISK, CONSENT, ESTOPPEL, RATIFICATION
                           AND WAIVER)

          12.   Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, by the doctrines of acquiescence, assumption of risk, consent, estoppel, ratification and

waiver.

          13.   In providing the services to the Macy’s Entities, Defendant Clearview did not use

any non-open source information, defined as scraping public-facing websites for images or

copying, collecting, storing or otherwise using said images in violation of a website or entity’s

terms and conditions for use of such images and any information contained therein.




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        14.    By posting images of themselves or others on public-facing website, Plaintiffs and

the putative class members consented to, ratified and acquiesced in the use of such images and any

information contained therein in accordance with the terms and conditions of the website to which

such images were posted.

        15.    Further, by undertaking such actions, Plaintiffs and the putative class members

assumed the risk that such images would be available for use by third-parties like Defendant

Clearview.

        16.    Likewise, by posting images on public-facing websites, Plaintiffs and the putative

class members had no expectation of privacy in such images or any information contained therein.

Plaintiffs and the putative class members therefore waived and should be estopped from

complaining of claims based on such conduct.

                                SEVENTH AFFIRMATIVE DEFENSE
                                         (STANDING)

        17.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, because they have not suffered a concrete and particularized injury as a result of the

Macy’s Entities’ actions and any purported injury is not fairly traceable to the alleged conduct of

the Macy’s Entities, so any relief sought would not redress any such injury.

        18.    Further, they are barred by the doctrine of standing as Plaintiffs and the putative

class members have not been aggrieved by any BIPA violation committed by the Macy’s Entities.

                           EIGHTH AFFIRMATIVE DEFENSE
                 (NO NEGLIGENT, INTENTIONAL OR RECKLESS CONDUCT)

        19.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, by the Macy’s Entities’ good faith, and the absence of negligent, intentional, or reckless

conduct.



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        20.    To the extent that Plaintiffs’ and the putative plaintiff class members’ BIPA and

other state law claims apply to the Macy’s Entities’ conduct, the Macy’s Entities are not liable

because it relied in good faith upon the representation and warranties Defendant Clearview made

in the parties’ agreement and the Macy’s Entities’ reasonable interpretation of BIPA’s statutory

language and the requirements of California, Virginia, and New York law.

        21.    As a result, any alleged violation was not negligent, intentional, or reckless.

        22.    Further, the Macy’s Entities acted at all times in good faith and without malice,

willfulness, or reckless indifference, barring any recovery of punitive or exemplary damages by

Plaintiffs and the putative class members.

                                  NINTH AFFIRMATIVE DEFENSE
                                (FAILURE TO MITIGATE DAMAGES)

        23.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, by their failure to mitigate their damages, if any, and any recovery should therefore be

reduced or denied accordingly.

                                  TENTH AFFIRMATIVE DEFENSE
                                     (CLASS ALLEGATIONS)

        24.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, because the requirements for the certification of a plaintiff, defendant or issue class are

not met.

                           ELEVENTH AFFIRMATIVE DEFENSE
                            (UNCONSTITUTIONAL DAMAGES)

        25.    Plaintiffs’ claims and the claims of the putative plaintiff class are barred, in whole

or in part, as they seek unconstitutional damages under BIPA, a statute that violates the United

States and Illinois Constitutions both facially and as applied to this case. The statutory damages

Plaintiffs seek under BIPA constitute an unconstitutional penalty in violation of the due process

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and equal protection guarantees, and other substantive and procedural safeguards afforded by the

First, Fifth, Sixth, and Fourteenth Amendments to the United States Constitution. Furthermore,

BIPA is unconstitutionally vague, as it on the one hand imposes grossly excessive damages wholly

unrelated to any actual harm, while at the same time making damages discretionary without any

basis for how courts and juries should weigh this discretion. This leads to an arbitrary assessment

of damages as it lacks any standards or factors to which parties, judges and juries can assess a

damages award that comports with the due process and equal protection guaranties of the United

States Constitution.

        WHEREFORE, Macy’s, Inc., Macy’s Retail Holdings, Inc., now known as Macy’s Retail

Holdings, LLC, and Macy’s Corporate Services, Inc., now known as Macy’s Corporate Services,

LLC, respectfully request that the Court dismiss the Second Amended Consolidated Class Action

Complaint with prejudice, enter judgment in their favor, and grant such other and further relief as it

deems just.



Dated: October 24, 2022                                       Respectfully Submitted,

                                               /s/ Daniel R. Saeedi
                                               Daniel R. Saeedi (ARDC #6296493)
                                               dsaeedi@taftlaw.com
                                               Rachel Schaller (ARDC #6306921)
                                               rschaller@taftlaw.com
                                               Blair A. Harrington (ARDC #6337965)
                                               bharrington@taftlaw.com
                                               Paul Yovanic, Jr. (ARDC #6327815)
    pyovanic@taftlaw.com
                                               TAFT STETTINIUS & HOLLISTER LLP
                                               111 E. Wacker Drive, 28th Floor
                                               Chicago, Illinois 60601
                                               Telephone: (312) 527-4000
                                               Fax: (312) 754-2373




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                                     Attorneys for Defendant Macy’s, Inc., Macy’s Retail
                                     Holdings, Inc., now known as Macy’s Retail
                                     Holdings, LLC, and Macy’s Corporate Services,
                                     Inc., now known as Macy’s Corporate Services, LLC




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   Document comparison by Workshare Compare on Thursday, March 30, 2023
   10:32:10 AM
   Input:
                       file://C:\Users\mxp\Desktop\MACYS 3-30-2023\Macy_s -
   Document 1 ID       Plead - Macy_s Answers and ADs to 2d Amd MDL Compl
                       (Final 10.07.2022).DOCX
                       Macy_s - Plead - Macy_s Answers and ADs to 2d Amd MDL
   Description
                       Compl (Final 10.07.2022)
                       file://C:\Users\mxp\Desktop\MACYS 3-30-2023\Macy_s -
   Document 2 ID       Plead - Ex. A to MFL File Amd. ADs - Amended ADs (Draft
                       3.18.2023)_ (rev. 3.20.23).DOCX
                       Macy_s - Plead - Ex. A to MFL File Amd. ADs - Amended
   Description
                       ADs (Draft 3.18.2023)_ (rev. 3.20.23)
   Rendering set       TaftStandard

   Legend:
   Insertion
   Deletion
   Moved from
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   Split/Merged cell
   Padding cell

   Statistics:
                                           Count
   Insertions                                 6
   Deletions                                  6
   Moved from                                 0
   Moved to                                   0
   Style changes                              0
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   Format changes                           0
   Total changes                           12
